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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
LOS ANGELES DIVISION

Special Value Continuation Partners,
L.P., a Delaware limited partnership;
Tennenbaum DIP Opportunity Fund,
LLC, a Delaware limited liability
company ; and Tennenbaum
Opportunities Partners V, LP, a
Delaware limited partnership,

Plaintiffs,
Vv.

Richard Bachmann, an individual;
Kenneth Burke, an individual, Edward
C. Hutcheson, an individual; Myles
Scoggins, an individual; Per Staehr, an
individual; Geoff A. Jones, an

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NOTICE OF REMOVAL OF ACTION
UNDER 28 U.S.C. $ 1332, 1334, 1441
AND 1452 AND FEDERAL RULE OF
BANKRUPTCY PROCEDURE 9027

Superior Court of State of California,
ounty of Los Angeles Case No.
BC457443]

 

 

 

 

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Oo Oo NI DWN A BW PO —

individual; D. Michael Wallace, an
individual; Rishi Varma, an individual;

| Brent Cenkus, an individual, Stephen

Morrell, an individual, Mads Bardsen,
an individual; Bjorn Inge Staalesen, an
individual, Gerald Gray, an individual;
and DOES 1-99, inclusive,

Defendants.

 

 

 

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To: The Clerk of the Court for the United States District Court, Central

District of California:
| PLEASE TAKE NOTICE that Defendants Richard Bachmann, Kenneth
Burke, Edward C. Hutcheson, Myles Scoggins, Geoff A. Jones, D. Michael
Wallace, Brett Cenkus', Stephen Morrell and Rishi Varma” (the “Defendants”)
hereby remove to this Court the state court action described in Paragraph 1 below.
Defendants remove this civil action pursuant to 28 U.S.C, §§ 1332, 1334, 1441 and -
1452 and Federal Rule of Bankruptcy Procedure Rule 9027 on the grounds set forth
below.
The Removed Case

1. The removed case is a civil action filed on March 17, 2011 in the
Superior Court of the State of California for the County of Los Angeles, styled
Special Value Continuation Partners, et al. v. Richard Bachmann, et al., Case No.
BC457443 (the “Removed Case”), which is incorporated herein, as if set forth in
full. |

2. Pursuant to 28 U.S.C. § 1446 and F ederal Rule of Bankruptcy
Procedure 9027(a), this Notice of Removal is timely because it is being filed with
the Clerk for the Central District within 30 days after the Removed Case was filed
and less than 30 days after the first Defendant was served.

Grounds for Removal

3. Any claim or cause of action in a civil action may be removed to the
district court for the district where the civil action is pending if the district court has
original jurisdiction of such claim or cause of action.’ If all claims and causes of
action are removed, the state court is deprived of all further jurisdiction until such

time as there may be a remand.’

' Defendant Brett Cenkus was erroneously sued as Brent Cenkus.

? Defendant Rishi Varma, represented by separate counsel, is a party to this notice of removal.

3 Franchise Tax Bd. V. Constr. Laborers Vacation Trust, 463 U.S. 1, 7-8 (1983) (citation omitted); see also 28
U. S.C. §§ 1452, 1334.

* See In re Princess Louise Corp., 77 B.R. 766, 771 (Bankr. C.D. Cal. 1987).

 

 

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1 4. This Court possesses original jurisdiction over this dispute pursuant to

2 | both 28 U.S.C. §1332(a) and 28 U.S.C. §1334(b).

3 5. Pursuant to 28 US.C. §1332(a), district courts have original |

4 | jurisdictions “of all civil actions where the matter in controversy exceeds the sum or

5 || value of $75,000, exclusive of interest and costs, and ... is between citizens of

6 | different States.” -

7 6. Pursuant to 28 U.S.C. §1334(b), district courts have original

8 | jurisdiction “of all civil proceedings arising under title 11, or arising in or related to

9 | cases under title 11.”°
10 7. The state courts of California, and this Court, lack personal Jurisdiction
11 | over the Defendants, because none of them does business in California, nor did they
12 | engage in contacts with California in connection with the alleged conduct in the
13 | Removed Case that would subject them to personal jurisdiction of any court sitting
14 | in California. This Notice of Removal expressly reserves Defendants’ denial of
15 | personal jurisdiction, and Defendants will move to dismiss the Removed Case for
16 | lack of personal jurisdiction and alternatively seek to transfer the case to another
17 | jurisdiction that has personal Jurisdiction over Defendants.
18 28 U.S.C. §1332(a) — Diversity Jurisdiction
19° 8. This is a civil case that falls under the Court’s original jurisdiction _
20 | under 28 U.S.C. §1332(a) and is one that may be removed to this Court pursuant to
21 | 28 U.S.C. §§1441(a) and 1446 based on the diversity of citizenship of the parties.
22 9, Defendants Bachmann, Burke, Jones, Wallace, Cenkus, Morrell and
23 | Varma are citizens of Texas. Defendants Hutcheson and Scoggins are citizens of
24 Colorado.
25 10. There are also persons named defendants who have not been served:
26 | with the summons and complaint in the Removed Case, but none of those unserved
27 | defendants is a citizen of California, Texas or Colorado. Bjorn Inge Staalesen and
28 | 87a

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1 | Mads Bardsen are citizens of Norway. Per Staehr and Gerald Gray are citizens of

2 | the United Kingdom. The citizenship of the Doe Defendants is irrelevant for

3 | purposes of removal.°

4 11. The complaint in the Removed Case does not allege that the adverse

5 | parties are citizens of the same state. It alleges only that the Tennenbaum entities

6 | are plaintiffs that have “members in” or “partners in” states in which one or more

7 | defendant resides. The complaint does not identify any state in which the

8 | Tennenbaum entities’ partners or members are a citizen.

9 12. Plaintiff Special Value Continuation Partners, LP (““SVCP”) is a
10 | Delaware limited partnership conducting business in Santa Monica, California.
11 | Based on a search of publicly available information on SVCP and its partners, on.
12 | information and belief, no partner of SVCP-is a citizen of Texas or Colorado.
13 13. Plaintiff Tennenbaum DIP Opportunity Fund, LLC (“TDOF”) is a
14 | Delaware limited liability company conducting business in Santa Monica,

15 | California. Based on a search of publicly available information on TDOF and its
16 | members, on information and belief, no member of TDOF is a citizen of Texas or
17 | Colorado.
18 14. Plaintiff Tennenbaum Opportunity Partners V, LP (““TOPV”) is a
19 | Delaware limited liability partnership, conducting business in Santa Monica,
20 || California. TOPV’s only general partner is SVOF/MM, LLC, a Delaware limited :
21 | liability company, conducting business in Santa Monica, California. TOPV’s only
22 limited partner is Tennenbaum Opportunity Fund, LLC, a Delaware limited liability
23 | company, conducting business out of Santa Monica, California. SVOF/MM, LLC’s
24 || managing member is Tennenbaum Capital Partners, LLC, a Delaware limited _ |
25 | liability company. On information and belief, no member of Tennenbaum Capital
26 | Partners, LLC, or of Tennenbaum Opportunity Fund, LLC, is.a citizen of Texas or
27 | Colorado.
28 | S28 US.C. §1441(a).
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15. Based on public information currently available to Defendants as set
forth in paragraphs 12 — 14 above, complete diversity of citizenship exists between
the parties because none of the Defendants share any of the plaintiffs’ citizenship.

16. None of the Defendants is a citizen of the State in which this action is
pending. |

17. Defendants vigorously deny the allegations of wrongful conduct, but
for purposes of establishing the $75,000 amount in controversy required by 28
U.S.C. § 1332(a), Defendants are entitled to rely upon the allegations of the
Complaint, which seek to impose liability in excess of $25,000,000.’ Here, where
the plaintiffs plead more than the jurisdictional amount, a defendant may expressly
deny that the plaintiffs are entitled to any relief while relying on the relief requested
in the complaint to meet the amount in controversy requirement.®

18. Each Defendant served in this matter is a party to this Notice of
Removal. The consent of defendants who have not been served is unnecessary.

28 U.S.C. §1334(b)(2) - “Related To” a Case under Title 11

19. On March 17, 2011, plaintiffs SVOP, TDOF; and TOPYV, collectively
“Tennenbaum”) commenced the Removed Case against the Defendants (current
and former officers and members of the board of directors of Trico Marine
Services, Inc. (“TMS”).

20. The complaint in the Removed Case alleges various actions taken by
the Defendants on behalf of TMS and Trico Shipping AS, a foreign subsidiary of

TMS “and its affiliates,” which are referred to in the complaint as “Opco.”

7 See St. Paul Mercury Indemnity Co. v. Red Cab Co., 303 U.S. 283, 288-89 (1938) (stating that when a complaint
filed pleads more than the jurisdictional amount “the sum claimed by the plaintiff controls if the claim is apparently
made in good faith”); see also Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2007) (noting that
when a complaint filed in state court alleges on its face an amount in controversy sufficient to meet the federal
jurisdictional threshold, such requirement is presumptively satisfied unless it appears to a “legal certainty” that the
plaintiff cannot actually recover that amount.) (citing Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 402 (9th
Cir. 1996)).

Id.

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21. The complaint is based on conduct by the Defendants in their
capacities as officers and directors of TMS and Opco relating to complex credit
facilities extended to TMS and its foreign operating subsidiaries.’ TMS and certain
of its other subsidiaries, including Opco, are both borrowers and guarantors under
these credit arrangements. '°

22. On August 25, 2010, TMS and its U.S. subsidiaries and one Cayman
subsidiary (collectively, the “Debtors”), filed a petition for relief under Chapter 11
of Title 11 of the United States Code , in the United States Bankruptcy Court for
the District of Delaware, assigned Chapter 11 Case Number 10-12653, referred to
herein as the “Bankruptcy Proceedings.”'’ As the Removed Case is “related to” the
Debtors’ Bankruptcy Proceedings, grounds exist for removing the Removed Case
to the district court. |

23. In their capacities as directors and officers of TMS and its debtor and
non-debtor subsidiaries, the Defendants entered into indemnification contracts
whereby Debtors are contractually obligated to pay defense costs associated with
defending these actions.” Debtors also purchased director and officer liability
policies for the benefit of Defendants, the proceeds of which would be used in

defending this civil action."

° TMS and its U.S. and foreign subsidiaries provide subsea services, subsea trenching and protection services and
towing and supply vessels to oii and natural gas exploration and production companies that operate in major offshore
producing regions around the world, including the North Sea, West Africa, Mexico, Brazil and the Asia Pacific
Region.

'° See Tennenbaum Compl. 30. The allegations include: TMS borrowed $25 million from Plaintiffs under the terms
of an Amended and Restated U.S. Credit Agreement, dated June 11, 2010 (the “U.S. Credit Facility”), TMS’s U.S.
and foreign affiliates are guarantors under the U.S. Credit Facility. See also id. $32. TMS also guaranteed a $65
million working capital facility extended to Trico Shipping, whom, together with Trico Supply, DeepOcean AS, CTC
Marine Protects, Ltd., and their subsidiaries, which are not debtors in the bankruptcy proceedings, are commonly
referred to as “Opco”. TMS and its foreign subsidiaries are also parties to an agreement in the Bankruptcy Court to
settle and compromise certain inter-company debt owed to the Debtors in exchange for stock in the non-debtor
foreign subsidiaries.

" See concurrently filed Request for Judicial Notice (“RFN”), Exh. A. TMS; Trico Marine Assets, Inc. (“TMA”);
Trico Marine Operators, Inc. (“TMO”); Trico Marine International, Inc. (“TMI”); Trico Marine Cayman, L.P.
(“Trico Cayman”); and Trico Holdco, LLC (“Holdco”, and collectively “the Debtors”) all filed bankruptcy and their
cases are being jointly administered with TMS as the lead case; See RFN, Exh. B.

? See REN, Exh. D., Sched. G.

3 See REN, Exh. E. 5

 

 

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1 | 24. To determine whether a civil action is “related to” a bankruptcy case,
2 | the Ninth Circuit has adopted the “conceivable effects” test articulated by the Third
3 | Circuit in Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d. Cir. 1984) (impliedly
4 | overruled on other grounds):
5 The usual articulation of the test for determining whether
6 a civil proceeding is related to bankruptcy is whether the
outcome of the proceeding could conceivably have any
7 effects on the estate being administered in bankruptcy.
8. [Citations omitted in original]. Thus, the proceeding need
9 not necessarily be against the debtor or against the
debtor’s property. An action is related to bankruptcy if
10 the outcome could alter the debtor’s rights, liabilities,
it options, or freedom of action (either positively or
negatively) and which in any way impacts the handling
12 and administration of the bankrupt estate. !*
13 25. The Removed Case can and will have an effect on the Debtors’ estate
14 | currently being administered in the Bankruptcy Proceedings.
15 26. Any fair reading of the complaint in the Removed Case confirms that
16 | the Debtors are the real target of their allegations, and indispensable parties to the
17 | Removed Case.
18 27. The Debtors may be contractually obligated to pay any judgment
19 | entered in the Removed Case, either directly or indirectly through the D&O
20 | insurance policies."°
2] 28. Defendants’ entitlement to contractual indemnity against the Debtors
22 | also affects property of the bankruptcy estate and warrants removal of the case.'°
23 4 In re Fietz, 852 F.2d 455, 457 (9th Cir. 1988) (quoting Pacor, 743 F.2d at 994, impliedly overruled on other
grounds).
24 8 See In re Minoco Group of Cos., 799 F.2d 517, 518 (9th Cir. 1986); see also A.H. Robins Co., Inc. v. Piccinin, 788
F.2d 994, 1007-1008 (4th Cir. 1986).
25 'S Carpenters Pension Trust for Southern California v. Ebbers, 299 B.R. 610, 613 (C.D. Cal 2003) (finding that the
Ninth Circuit views “related to” jurisdiction broadly, and that indemnification agreements, even if not automatic, are
26 sufficient to trigger federal subject matter jurisdiction); see also In re Enron Corp., 296 B.R. 505 (C.D. Cal. 2003);
see also In re Sizzler Rests. Intl., Inc., 262 B.R. 811, 818-819 (Bankr. C.D. Cal. 2001) (holding that employee
27 indemnification provides an adequate basis for “related to” jurisdiction even though indemnification was conditioned
on a subsequent proceeding); see also In re Mortgages Ltd., 427 B.R. 780, 787 (D. Ariz. 2010) (holding that even in
28 the absence of an unconditional indemnification agreement “[t]he potential chance that . . .[the borrowers’] action
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These indemnity agreements remain executory and have yet to be assumed or
rejected,

29. The Debtors’ obligation to indemnify the Defendants has been
identified as a potential liability in the Bankruptcy Proceedings, and the Debtors
have included an explicit provision in their proposed Disclosure Statement and
Chapter 11 Plan (the “Plan”) seeking to permanently enjoin any action that has
commenced or is continuing outside of the Bankruptcy Court after the effective
date of the Plan where the Debtors are or may be directly or indirectly liable by way
of contribution, indemnity, or otherwise.’’

30. The Removed Case is also related to the Debtors’ Bankruptcy
Proceedings because it affects individuals whom are integral to the Debtors’ efforts
to reorganize and consummate the Plan.'® Under the Debtors’ Plan, officers of the
Debtors, including Defendants Bachmann””, Cenkus””, Wallace”, and Morrell” will
be retained to assist in the administration of the Debtors’ Chapter 11 Plan. Their
responsibilities include, among other things: (i) making distributions to holders of
allowed claims; (ii) objecting to and prosecuting objections to claims or interests;

(iii) complying with the Plan and obligations under the Plan; (iv) authorizing the

against the Investors could affect administration of . . [the debtor’s] estate is enough to confer jurisdiction.”); see
also In re Washington Mutual, Inc. Sec., Derivative & ERISA Litig., 2009 WL 3711614, *1 (W.D. Wash. Nov. 2,

_ 2009); see also Stichting Pensioenfonds ABP v. Countrywide Financial Corp., 2010 WL 5559973, *4-5 (C.D. Cal.

Dec. 29, 2010) (finding that an express agreement between the debtor and non-debtor defendants is sufficient to
confer “related to” jurisdiction even if the defendant is not guaranteed indemnification); see also, Federal Home
Loan Bank of Seattle v. Barclays Capital, Inc., 2010 WL 3662345 (W.D. Wash. Sept. 1, 2010); see also Hendricks v.
Detroit Diesel Corp., 2009 WL 4282812 (N.D. Cal. Nov. 25, 2009); see also Pacific Life Ins. Co. v. J.P. Morgan
Chase & Co., 2003 WL 22025158 (C.D. Cal. June 30, 2003).

'’ See REN, Exh. C., Section 12.07.

'* See In re Arrow Huss, Inc., 51 B.R. 853 (Bankr. D, Utah 1985) (actions against officers of debtor corporation
stayed because diverting energies from reorganization process); see also Otero Mills, Inc. v. Security Bank & Trust

' (In re Otero Mills, Inc.), 25 B.R. 1018 (D. N.M. 1982) (action against president of corporate debtor who guaranteed.

corporate obligations stayed because the president was to contribute substantial asset to fund the plan).

’? Defendant Bachmann is the President and Chief Executive Officer of TMS. He is also the Chairman of the Board
of Directors of TMS.

?° Defendant Cenkus is the General Counsel and Secretary of TMS. He is also the President of Holdco, TMA, TMI,
and TMO.

7! Defendant Wallace is the Vice President and Chief Operating Officer of TMS. He is also the Vice President of ~
Holdco, TMA, TMI and TMO.

2 Defendant Morrell is the Vice President of Finance of TMS.

 

 

-7-
NOTICE OF REMOVAL

77069-0001/LEGAL20620434.8

 
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sale of assets; (v) prosecuting, resolving, compromising and/or settling any
litigation on behalf of the Debtors; and (vi) taking all other such action as
necessary, desirable or appropriate to carry out the purpose of the Plan.”

31. The allegations of the complaint in the Removed Case are based on
conduct of the Defendants in their capacities as officers and directors of the Debtors
and its affiliates. Tennenbaum or other parties to the Bankruptcy Proceeding may
argue that.decisions in the Removed Case have preclusive effects in the Bankruptcy
Proceedings. .

32. Moreover, the Removed Case also may otherwise forestall or interfere
with the proper administration of the bankruptcy proceeding. The Committee of
Unsecured Creditors of the Debtors (the “Committee’”) has recently stated that it

will explore possible action against the boards of directors and officers of TMS, ©

TMO, Holdco, Trico Cayman, and non-debtor subsidiaries Trico Supply and Trico

Shipping for breaches of fiduciary duties and duties of loyalty and due care.** This

possible action would include the Defendants.” While the Defendants firmly deny
any such liability, if the Committee were to commence an adversary proceeding
against the Defendants in the Bankruptcy Proceedings and at the same time
Tennenbaum, also creditors in the bankruptcy proceeding, were to prevail in this
civil action, Tennenbaum could try to circumvent any orderly distribution of the
Debtors’ estates, which include the insurance policies and still executory indemnity
agreements, that conform with priority schemes highlighted by the Bankruptcy
Code. .

3 See REN, Exh. C., Section 4.04,

* See REN, Exh. F.

*° Defendants Bachmann, Burke, Scoggins and Hutcheson are all directors of TMS. Defendant Morrell is a director
of TMA, TMI and director of a subsidiary of Trico Supply. Defendant Cenkus is a director of Trico Supply and
Trico Shipping, as well as several subsidiaries of the two entities. Defendant Jones is the former Chief Financial
Officer and Senior Vice President of Trico Marine Group. Defendant Wallace is a director of Trico Marine Services
(Hong Kong) Limited, a subsidiary of TMA. g

 

 

NOTICE OF REMOVAL

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33. For these reasons, this civil action is “related to” the Bankruptcy
Proceedings. Accordingly, proper grounds exist for removal of this civil action to
the District Court in accordance with 28 U.S.C. §§ 1334 and 1452.

Procedural Requirements for Removal are Met
34, All served defendants join in this Notice of Removal but pursuant to

28 U.S.C. § 1452, unanimity of defendants is not required for removal under that’

ground.”°

35, _ In accordance with Federal Rule of Bankruptcy Procedure 9027(c),
Defendants will promptly file a copy of the Notice of Removal with the Clerk of the
Los Angeles County Superior Court. |

36. Onremoval of the civil action, the Defendants submit that this
proceeding will not be a core proceeding within the meaning of 28 U.S.C.
§157(b)(1). At this stage, Defendants do not consent to entry of all final orders or
judgment by the Bankruptcy Court as permitted by 28 U.S.C. § 157(c)(2).

37. The civil action to be removed is not a proceeding before the Tax _
Court or a civil action by a governmental unit to enforce the governmental unit’s
police or regulatory power.

38. Defendants have attached true and correct copies of all process and
pleadings filed in the civil action to this Notice of Removal.

39. No admission of fact, law or liability is intended by this Notice of
Removal, and all defenses, affirmative defenses and motions are hereby reserved,
including without limitation, the defenses of (i) insufficient process, (ii) lack of
personal jurisdiction, and (iii) failure to state a claim.

| Conclusion .

40. This Court has jurisdiction over this case under 28 U.S.C. §1332(a)
and it may be removed to this Court pursuant to 28 U.S.C. §§1441(a) and 1446
based on the diversity of citizenship of the parties.

26 See Inre Harris Pine Mills, 44 F. 3d 1431, 1435 (9th Cir. 1995)

 

NOTICE OF REMOVAL -

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41. Inaddition, proper grounds exist for removal of this civil action to the

District Court in accordance with 28 U.S.C. §§ 1334 and 1452.

42. For the reasons enumerated above, removal of this civil action to the

District Court is warranted.

DATED: . April 18, 2011

DATED: April 18, 2011

-10-

PERKINS COIE LLP

a ’

By:

 

David T. Bi derman, Bar No.
101577
DBiderman@perkinscoie.com

Attorneys for Defendants

Richard Bachmann; Kenneth Burke;

Edward C. Hutcheson; Myles
oggins; Geoff A. Jones D. Michael
ace; Brett Cenkus; Stephen

voreair

SUSMAN GODFREY LLP

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” Ole Elkhunovich, Bar No.
269238
oelkhuno@SusmanGodfrey.com

Attorneys for Defendant
Rishi

 

 

NOTICE OF REMOVAL

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Exhibit "A"
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 180f58 Page ID #:21

 

 

     
 
    

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(CITACION. JUDICIAL) (sold Fann USO 00 LA CORTE)

(AVISO Al TO: pote RICHARD BACHMANN, an sindvidual | KENNETH

GEOFF A. TONES. an ind CONFORMED copy

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individual; MADS BAI SeANCE CET

, an indi COUNTY O7 LOS ANGE SLES
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| oe . HAR 17 2011
YOU ARE BEING SUED BY PLAINTIFF: SPECIAL VALUE CONTINUATION
(LO €STA-_DEMANDANDO EL DEMANDANTE): PARTNERS, LP, a Delaware Ph" 4. Clurke, Exeoutive OficerCie:

limited partnership; TENNENBAUM DIP OPPORTUNITY FUND, LLG, a Delaware | Ad Free
limited fiabiligy company; AND TENNENBAUM OPPORTUNITIES PARTNERS Vv, Mary Flares

LP, a Delaware limited-parmership

Deputy

 

 

NOTICE! You: have. been sued.. The cqurt may decide against you without your being heard unlass ‘you respond within 30 days, Read the information
betow.

You have 30. CALENDAR DAYS after this summons arid legal papars are served on you to file a written response at this court and havea copy
served on the: plaintiff. A letter or phone cail will not protect you. Your written response must'be in.proper legal form if you want the court to hear your
ease, Thera may. ba: a-court form that you:ean:use for your response. You can find these: couit forms and‘more information at the California Courts
Online SelfsHelp Center (waw.courtinio.ca. .gowseinelp), your county law-library,.or the courthouse nearest you. if.you Cannot pay the filing fee, ask
tha. court’clerk. for afee waiver form. if-you. do:nol-fils your response:on time, you may-fose: ‘the’ case by default, and-your wages, money, and: property
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SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES
TTY North Hill Street -

Los Angeles, CA 90012-3014 .
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(Et nambr, la direccion y el admera dé teléfono det abogado del demandante, o def demandante que no tiene ahogado, es,

 

   

 

  
  
   
 

y:
Peter W. Devereaux, Esq., Bar No. 119666 (213) 48S-1234 (213) 891 -8763 |
LATHAM & WATKINS LLP ,
255 South Grand. Avenue .
os Angeles, Californias$Q0 . :
DATE: a EE sar by Mary Flores . Deputy
(Fei) ¥ PTs Secretaria)

 

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3. {4 of behalfof (specify:

under: Le} GEP 416.16 (corporation) [7] CCP. 416.60 (minor)
ad ‘CCP 416.20 (defunct corporation). f"| CCP-416.70 (conservatee)

bs CCP-416: 40 (association or partnership) ECP 416.96 {authorized person)
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LATHAM & WATKINS LLP

Peter W. Devereaux, Esq., Bar No. 119666

Robert.A. Klyman, Esq., ‘Bat No. 142723
amy €. ee Esq. Bar No, 222144

 

Attomeys for Plaintiffs Special Value
‘Continuation Partners,.LP, Tennenbaum DIP
Opportunity Fund, LLC and Tennenbaum
Opportunities: Partners V, LP

SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN THE COUNTY OF LOS.ANGELES

SPECIAL VALUE CONTINUATION
PARTNERS, LP, a Delaware limited
partnership; TENNENBAUM DIP

| OPPORTUNITY FUND, LUC, a Delaware
limited liability compariy; AND

  

ENBAUM OPPORTUNITIES:

| PARTNERS V, LP, a Delaware limited
partnership, .

Plaintiffs,

   
 
 

NN ey individual,

sts OR on GOGINS. a ina =
individual; RISHI ‘VARMA, an individual;

BRENT. CENKUS, an individual; STEPHEN

MORRELL, an. individual: MADS
BARDSEN, an individual; BJORN INGE
STAALESEN, an individual; GERALD
GRAY, an individual; and DOES 1-99,
inclusive,

Defendants.

Q) FRAUD'[CONCEALMENT];
(QG) FRAUD [FALSE PROMISE]; AND

- [DEMAND FOR JURY TRIAL] -

 

vidual; D. MICHAEL WALLACE, an |

 

 

 

 

BC 407 7443
CASENO,
COMPLAINT FOR DAMAGES FOR:

(@) FRAUD [INTENTIONAL
MISREPRESENTATION];

(4) NEGLIGENT MISREPRESENTATION. |

FILED IN CAMERA AND UNDER SEAL

 

COMPLAINT

 
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4d NATU RE OF THE ACTION
2 ‘1, | ‘This isan action for fraud and negligent misrepresentation against Defendants
3 Richard Bachmann, Kenneth Burke, Edward C. Hutcheson, Myles Scoggins, Per Staehr, Geoff
4 1A. Jones, D. Michael Wallace, Rishi Varma, Brent:Cenkus, Stephen Morrell, Mads Bardsen,
-§ || Bjorn Inge Staalesen, Gerald Gray and DOES 1-99 (collectively, “Defendants”). This action
6 |) arises from the unfortunate facts-and circumstances relating to the etitry of Plaintiffs Special
7 | Value Continuation Partners, LP, Tennenbaum DIP Opportunity Fund, LLC and Tennenbaum
8 Opportunities Partners V, LP (collectively, “Plaintiffs”, as lenders, into a credit agreement with
. 9 | Opeo (as defined herein), the perfortnance under that-agreement, and the consummation of the
10 || transactions.effectuated thereunder, By the claims asserted herein, Plaintiffs seek monetary |
At damages, including punitive damages, for the wrongful acts of Defendants. Plaintiffs also seek
12 | recovery of all of their costs ineurisd in bringing and ‘prosecuting this suit, inchiding their
‘13 || attorneys” fees.
14 JURISDICTION AND VENUE
15 2. This Court has jurisdiction because the matter in controversy exceeds the sum or
16 || value of $25,000. |
17 3. Venue i is proper in this Court pursuant to Califoria Code of Civil Procedure
18 || Sections 395 and 395.5. Plaintiffs have their principal place of business.in the County of Las
19 | Angeles, State of Califomia, The:tortions conduct at issue took Place in the County of Los
20 | Angeles, State of California, ,
2 | THE PARTIES
2 | 4. Plaintiff Special Value Continuation Partners, LP is a Delaware limited
23 partnership with its principal place of business in California, and has partners in, among other
24 states, Colorado and Texas.
. 25 5. Plaintiff Tennenbaum DIP Opportunity Fund, LLC is a Delaware limited liability
26 company with its principal place of business in California, and has members in, among other
27 states, Texas.
28 iT I
LATHAMsWATRINS# | COMPLAINT.

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6. Plaintiff Tenenbaum Opportunities Partners V, LP is a Delaware limited

partnership with its principal place of business in Califomia, and has partners in, among other

i states, Colorado.

7. Plaintiffs are informed and believe and on that basis allege that Defendant
Richard Bachmann is an individual residing in Houston, Texas, and is the Chairman of the Board
and Chief Executive Officer of Trico Marine Services, Inc. |

8, Plaintiffs are informed and believe and on that basis allege that Defendant
Kenneth Burke is an individual residing in Houston, Texas, is a member of the board of directors
of Trico Marine Services, Inc. - .

9. Plaintiffs are informed and believe and on that basis allege that Defendant Edward

(C. Hutcheson is-an individual residing in-Colorado, and is a member of the board of directors of

Trico: Marine Services,.Inc.

10. | Plaintiffs are-informed and believe and on that basis allege that Defendant Myles

‘Scoggins is an individual residing in Colorado, and‘is a member of the board of directors of

Trico Marine Services; Inc:
HM. ——— Plaintiffs-are informed and believe and-on that basis allege that Defendant Per

Staehr is an individual residing-in Norway, and is:a member of the board of directors of Trico

Marine Services, Inc.

12. —- Plaintiffs are informed and believe and on that basis allege that Defendant Geoff
A. Jones is.an individual residing in Houston, Texas, and is the former Chief Financial Officer
and Senior Vice President of Trico Marine Group.
‘13. ‘Plaintiffs are informed and believe arid.on that basis allege that Defendant D.
Michael Wallace is an individual residing in Houston, Texas, and is the Chief. Operating Officer
and Vice President of Trico Marine Group. | .

14. Plaintiffs are informed and believe and on that basis allege that Defendant Brent

) | Cenkus is an-individual residing in Houston, Texas, and is the General Counsel and Secretary of

Trico Marine Group.
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COMPLAINT

 

 
 

Case 2:11-

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‘Stephen Morrell is an individual residing in Houston, Texas, and is the Treasurer, Director of

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|| Defendants DOES 1-99, inchisive, are wwiknown to Plaintiffs, who therefore sue cach and all of

them by such fictitious names. Plaintiffs will seek leave-to amend this Complaint to allege their

and thereon allege that each of the fictitiously named Defendants is responsible in some manner

for the occurrences-herein alleged and that Plaintiffs’ damages as herein alleged. were

 

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15. Plaintiffs are informed and believe and on that basis allege that Defendant

Financial Planning and principal financial officer for Trico Marine Group.

16. Plaintiffs are'informed and believe and on that basis allege that Defendant Rishi
Varma is-an individual residing in Houston, Texas, and was President of Trico Marine Group
and a member of the board of directors of Trico Shipping AS until August 2010.

17, Plaintiffs. are informed and believe and on ‘that basis allege that Defendant Mads
Bardsen is an individual residing in Norway, and is a member of the board of directors of Trico
Shipping AS. |

18. __- Plaintiffs:are informed and believe and oni that basis allege that Defendant Bjorn:
Inge Staalesen is an individual residing in Norway, and is a member of the board of directors of .
Trico Shipping AS.

'. 19, Plaintiffs are informed and believe and on that basis allege that Defendant Gerald -
Gray is an individual residing in the United Kingdom, and is the Managing Director of Trico
Shipping AS. | |

20.. ‘The truesiames and capacities, whether individual, corpérate or otherwise, of
true names arid capacities when they have been ascertained. Plaintiffs are informed and believe

proximately caused by Defendants DOES 1-99, inclusive.
GENERAL FACTUAL ALLEGATIONS

 

21. This is a.case involving, among other things, the misrepresentations of Defendants,
as officers and directors of Trico Marine Services, Inc: and its U.S. affiliates (“Holdco”) and Trico
Shipping AS, a foreign operating subsidiary of Holdco, and its affiliates (“Opco,” and collectively

with Holdco, “Trico”’), made to Plaintiffs to induce them to provide financing to Holdco and

 

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Trico is also sometimes referred to as Trico Marine Group.

COMPLAINT
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Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 23 0f 58 Page ID #:26

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-darhages, to compensate them for the substantial damages they have suffered as.the proximate.

1 Loan (as defined below), the true facts began-to be revealed regarding Trico’s financial condition
|| substantial losses on their investment in Opco.

commitment with Holdco to be guaranteed by subsidiaries of Holdce (other than Opco). Early

at the-Opce level. The initial proposal contemplated that Plaintiffs would refinance $15 million
of existing debt issued by Holdeé, Holdco would file for bankruptcy protection, and Plaintiffs:
‘would then: provide an additional $35 million ona post-pétition basis. At Holdco’s request, the
. proposal-was revised to provide that Plaintiffs would ‘extend $25 million prior to a bankruptoy

. ‘filing instead of $15 million. Under the revised proposal, because Holdco was already

|| diligence concerning both Holdco and Opco. Among the many communications, both written

 

Opco in June 2010. By this action, Plaintiffs seek monetary damages, including punitive

fesult-of the wrongful acts of Defendants.

22, As directors and officers of Holdco and Opeo?, Defendants provided, and caused
Holdco and Opco to provide, false and misleading financial projections and other representations
to Plaintiffs in May, June and July 2010. Through their deceptive scheme, Defendants
misrepresented and concealed the true facts regarding the then present and reasonably anticipated

fiiture financial condition ofboth Holdco and Opes. Within. weeks of Plaintiffs funding the Opco

and prospects. Opco’s business has.since experiented a steep decline and Opco is likely to file for

bankruptcy as soon as April 2011. As a-result‘of Defendants’ wrongful acts, Plaintiffs may suffer

Plaintiffs’ Loans To Holdco And Opco

   

23. Beginning in May 2010, Plaintiffs négotiated the terms of a $50 million financing

on inthe negotiations, Trico advised that it would likely seek additional financing from-Plaintiffs.

conteniplating a reorganization, the parties anticipated that the financing would be extended in
two tranches: (1) a $25 million loan extended upon closing, and (2) an additional $25 million
after Holdco filed bankruptcy (collectively, the “Heldco Loans”).

24. Between early May and early June 2010, Plaintiffs conducted substantial

and oral, between Plaintiffs and Trico, certain Defendants, including Varma, Wallace, Jones and

 

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There is substantial overlap between the management at Holdco and that at Opco.

4 COMPLAINT

 
 

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1 Morrell, participated. in meetings with Plaintiffs at Trico’s Houston headquarters over the
2 | Memorial Day‘weekend in 2010.
30 25.  Athong other information, Defendants provided, caused or authorized to be
4 provided and/or were aware that other Defendants provided to. Plaintiffs financial projections. for
5 both Holdco and Opco. Plaintiffs made inquiries.of certain Defendants concerning the reliability
. 6 || of the projections offered to Plaintiffs in connection with their diligence efforts. In the initial
| 7 | diligence meetings between Plaintiffs and Jones, Morrell, Varma and Wallace, these Defendants
8 farther assured Plaintiffs that the projections provided during the diligence process were the only
9 | and best projections that they had and that they were the product of a “bottoms up” analysis after
10 | receiving input from the regional business units. ,
1 26. - Trico and its: advisors provided Plaintiffs with financial projections showing
12 -stibsiantial projécted-earnings before interest, taxes, depreciation and amtottization (EBITDA”)
43° | for fiscal years 2010/and 2011. Specifically; Defendants Varma, Wallace, Jones and Morrell,
14 participated in meetings in May 2010 in'which they represented to Plaintiffs @) that Trico was
15 || projected to-earn approximiately $56 million of EBITDA in 2010 and approximately $102
46 | million of EBITDA in 2011 ona consolidated basis; (ii) that Opco was projected to earn
17 | approximately $77 million of EBITDA i in 2010 and:approximately $111 million of EBITDA j in
18 || 2011; (ii) that Opco had significant asset value and liquidity; and (iv) that several intercompany
19 || notes owed by Opco in favor of Holdco (collectively, the. “Intercompany Notes”), somé of which
20 || would be pledged as collateral to Plaintiffs, had substantial value. On information and belief,
21 || Defendant Morrell was the officer primarily responsible for assembling the consolidated
22 || financial projections. | |
23 27.  Defendants,-and each of them, knew that Trico had a history of unreliable and/or
24 | inflated projections. Defendants, and each of them, knew or should have known that Trico had a
25 history of not meeting its financial projections. Plaintiffs later learned, long after lending tens of
26 || millions of dollars to Trico in reliance upon false financial projections, that the projections
27 || provided to Plaintiffs during the diligence.process materially inflated Trico’s projected EBITDA,
28 || among other things. Defendants, and each of them, knew or should have known that the

 

 

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Case 2:11-cv-03290-DMG-RZ Document 1. Filed 04/18/11 Page 25o0f58 Page ID #:28

 

 

 

1 || financial projections that were provided to Plaintiffs to induce them to extend financing to Trico
2 were. materially false and not reliable.
3 28. Plaintiffs’ consideration of and ultimate decision to extend the Holdco Loans was
4 | based upon the financial projections they were provided by Trico and its advisors, the appraisals
§ | of vessels pledged as'collateral, as well as the-value of the Intercompany Note. Defendants, and
€ ‘each of therm, knew or should have known that Plaintiffs’ decision to extend financing to Holdco
7 -and'Opco was based upon, insubstantial part, the false financial projections provided to
& | Plaintiffs. .
. 9 29. Onor about June 7, 2010, shortly before the closing of the Holdco Loans and
10 || before Plaintiffs learned that Holdco and Opco had provided the false projections described
11 || above, Trico’s advisors confirmed that Trico also would be requesting financing from Plaintiffs
"¥2 | at the Opco level in addition to the financing to be. provided by Plaintiffs to Haldco.
13 30. On Junie 8, 2010, Plaintiffs and Holdco signed a commitment letter for the Holdco
14 | "Loans; On June 14,2010, Plaintiffs and Holdco entered into the Second Amended and Restated -
is. Loan: ‘Agreement, and Plaintiffs funded the initial $25 million to Holdeo. Defendants Bachmann, —
16 . Burke; Hutcheson, Sceggifis-and Siaehr approved'the Héldco Loans by resohution. That
17 | resolution was certified by Defendant Cenkus.
18 31. Following closing of the-Holdco Loans, Plaintiffs continued their diligence in
19 | anticipation of fimding a loan to Opco. Trico’s advisors, at the direction of oné or more of’ |
20. Defendants, provided additional financial information, including updated financial projections, for |
21 Holdco and Opco to Plaintiffs. . .
22 32. - On June 29, 2010, Plaintiffs entered into a commitment to fund up to $65 million
_ 23 | to Opco (the “Opco Loan”) as documented in the Amended Credit Agreement and Third
24 || Amendment to Credit Agreement and Forbearance Agreement (the “Opco Credit Agreement”).?
25 | 5 : ‘ 4 - a men de
The Opco Credit Agreement was subsequently amended in the Fourth Amendment to
26 || Credit Agreement dated as of July 23, 2010 (the “Fourth Amendment to Credit Agreement”), the
Fifth Amendment to Credit Agreement.and Forbearance Agreement dated as of September 21,
27 | 2010 (the “Fifth Amendment to Credit Agreement”) and the Sixth Amendment to Credit -
Agreement and Consent to Asset Sale dated as of December 16, 2010 (the “Sixth Amendment to
28 | Credit Agreement,” and togetlier with the Fourth Amended Credit Agreement and the Fifth
‘Amended Credit Agreement, the “Amendments”). ~

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) | Agreement:

 

The Opco Loan was secured by a pledge of certain assets at Opco. Opco and its affiliates,

including certain Holdco entities, guaranteed the full and prompt payment and performance of all

obligations, as defined in the loan documents, owing at any time to Plaintiffs. .
33. In extending the Opco Loan, Plaintiffs relied in part upon representations made by

Opco and its officers, including the following representations contained in the Opco Credit

« allrepresentations and warranties contained therein are “true and correct in all

material respects” (Opco Credit Agreement § 7.05.);

e aif financial projections (including balance sheets, statements of income, cash
flows, etc.) which have been provided to Plaintiffs “present fairly in all material
respects the consolidated financial position of [Opca and its subsidiaries] a

_(Opee Credit-Agreement § 8.05(a).);

° “all financial projections “were prepared in good faith and are based on
reasonable assumptions, and there are no'statements or conclusions in any of
the Projections which are based upon or include information known to [Opco]
to be misleading in any material respect or which fail to take into account
materia] information known to [Opco}....” (Opco Credit Agreement §
8.05(d).);

e Opco is not aware of “any liability or obligation of any nature that is not fully
disclosed . . which, either individually or inthe aggregate, could reasonably be

expected to have a Material Adverse Effect."* (Opco Credit Agreement §
8.05(c).);

» Opco and its subsidiaries “are not ‘insolvent and will not be rendered insolvent

by the incurrence of [additional debt per the Opco Credit Agreement}, and will

‘not be Jeft with unreasonably small capital with which to engage in their

 

4 The Opco Credit Agreement defines “Material Adverse Effect” as “a material adverse

effect (w) on the rights or remedies of the Lenders under the Credit Documents, taken as a
whole, (x) or the ability of the [Opco and related entities] and [Holdco], taken as a whole, to
perform its or their obligations to the Lenders or (y) on the property, assets, operations, liabilities

 

or financial condition of the. [Opco and related entities] and [Holdco], taken as a whole.”

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Defendants, and each of them, knew or should have known that these representations were false,
jriacourate and misleading.. On information and belief, at the time Opco entered into the Opco
Credit Agreement arid-at all times subsequent, Opco was insolvent, did not have ‘sufficient capital

to continue its businesses and did not have the ability to pay its debts as.they came due.

34,

provided to Plaintiffs in connection with the Opco Credit Agreement. The Officer’s Certificate

confirms that:

Defendant Gray executed the Officer’s Certificate on behalf of Opco that was

knowledge of [Opco.and related entities], (x) threatened. with respect to any

. Adversé Effect.”; and

respective businesses and will not have incurred debts beyond their ability to
pay such debts as they mature.” (Opco Credit Agreement § 8.05(b).);

“There are no actions, suits or proceedings pending or, to the knowledge of
[Opco], threatened (A) with respect to (i) any Mortgaged Vessel or (ii) any
Credit Document, or (B) that could reasonably be expected to have, either
individually or in the aggregate, a Material Adverse Effect.” (Opco Credit
Agreement § 8 06.): and . |

“All factual information (taken as a whole) furnished by or on behalf of [Opco]
..., Will be true and accurate in all matetial respects on the date as of which
such information is datéd or certified and not incomplete by omitting to. state
any fact necessary to make such information (taken as a whole) not misleading
in any material respect at such time in light of the circumstances under which

such information was provided.” (Opco Credit Agreement § 8.07.).

“fall of the representations and warranties contained in the
[Opco Credit Agreement] are true and correct in all material respects...”

“no actions, suits, investigations or proceedings . . . are pending or, to the
Credit Document, or (y) whith could be reasonably to [sic] have a Material -

“nothing has occurred since December 31, 2008 that has had, or could

reasonably be expected.to have, a Material Adverse Effect.”

 

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1 35. In a meeting of Opco’s board of directors held.on June 28, 2010, board members
2 || Vartna, Bardsen atid Staalesen (i) approved and authorized the Third Amendment and the
3. | Amended afid Restated Credit Agreement (the “Opco Credit Agreement”), (ii)-held that it was in
4 | the Best interests of Opco and Holdeo (as guaratitor) to enter into the Opco Credit Agreement, (iii)
5 | authorized, empowered-and directed the officers of Trico to execute and perform the Opco Credit
6 || Agreement, and (iv) ratified, confitmed ‘and adopted alt acts undertaken by officers of Trico in
7 || connection with the Opco Credit Agreement as duly authorized acts of Trico. Certain subsidiaries
& | and affiliates of Holdco, including Trico Holdco, LLC and Trico Marine Cayman, L.P.,
9. || guaranteed the Opco loan. On information and belief, one or more of Defendants approved the
10 || guarantees of the Opco Loan.
i Trico Substantially Revises Its Financial Projections
12 36.  Onor about July 21, 2010, within weeks of Plaintiffs funding the Opco Loan,
13 | Trico’s advisors; at the direction of Defendants, communicated to Plaintiffs that the Trico
14 || consolidated and Opco financial projections provided to Plaintiffs to induce them to fund ‘the
15 || Holdco and Opéo Loaris were materially incorrect. In contrast to those original projections,
16 |.Defendants, inchiding Bachmann, Morrell, Varma, Wallace and Bardsen, admitted that the
17 || revised projections called for(i) a decline in the projected 2010 consolidated EBITDA to
18 || approximately $30 million ~ad7% decline, (i) adécline in the projected'2011 consolidated
19 || EBITDA to.approximately $69 million—a 32% decline, (ii). a dectine in the projected 2010.
20 || Opco EBITDA to approximately $53 million —a 31% decline, anid (iv): adecline in the projected
21 | 2011 Opco EBITDA te approximately $79 million — a 29% decline.
22 37. ‘Following réceipt of this news, Plaintiffs engaged Defendants Bachmann, Wallace,
23 4 Jones, Varma, Morrell, Bardsen and Cenkus in a series of communications, both written and oral,
24 || concerning how the financial projections provided to Plaintiffs in advance of closing on the Opco
25 | Loan and the Holdco Loans could have been 50 materially different than the revised projections
26 provided just weeks later. Among the many communications, Plaintiffs met with Defendants
27 || Bachmann, Varma, Bardsen, Wallace, Jones, Morrell and others in Houston at Trico’s |
28 || headquarters.on at least three separate occasions. In addition, Plaintiffs rhet with Defendants

 

 

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1 Bardsen-and others in Norway in September 2010 to discuss the ongoing financial relationship
2 | and Opco’s operations. In October 2010, Plaintiffs also met with Wallace, Bachmann and others
3 || in the United Kingdom to discuss the ongoing financial relationship.
4 Trico Further Revises Its Financial Projections
5 38:  Oner about October 8, 2010, Trico provided Plaintiffs with further revised and
6 || increasingly devastating financial projections. Rather than the $56 million of EBITDA
7 | Defendants: represented té Plaintiffs in May 2010 that Trico would earn on a consolidated basis in
8 | 2010, Trico now was expected to carn-only $200,000.00. Further, rather than the $102 million of
-9 | EBITDA Deféndants represented to Plaintiffs that Trico would earn on a consolidated basis in
10. || 2011, Trico was now projected to earn only $40 million. As for the Opco projections, rather than
11 || the $77 million of EBITDA Defendants represented to Plaintiffs in May 2010 that Opco would
12 earn in 2010, Opco now was expected to earn only $26 million, and rather than the $1.11 million
13 || of EBIT DA Defendants represented to Plaintiffs that Opco would eam in 2011, Opcoe was now
14 projected to earn only $44 million. . |
1S 39. Trico further revised its projections in December 2010. On or about December 21,
1 6 2010, Trico reduced the 2010 projections for Opco to approximately $27 million — a 65% decline
17 || from the projections provided to. Plaintiffs in May 2010 — and reduced the 2011 projections for
18 | Opeo to approximately $31 million'—a 72% decline from the projections. provided to Plaintiffs in
19: May 2010.

20 49. Asa result of ‘Opco’s admission that the projections that it gave to Plaintiffs were
"91 || materially incorrect, Plaintiffs. concluded that the conditions for additional advances’ under either
22 | the Holdco Loans or the Opco Loan eould no loriger be'satisfied. Opco requested that, in lieu of

23 || Plaintiffs terminating the remaining commitment and accelerating the debt and exercising other
24 || remedies against Opco, Plaintiffs enter into a No-Draw Letter whereby Opco agreed not to submit
25 || anotice of borrowing under the Opco Loan until December 2010. Notwithstanding the revealed
26 ‘misrepresentations and further evidence of erosion of value at Opco, as an accommodation, but
27 || with full reservation of rights, Plaintiffs agreed to enter into the No-Draw Letter. In the No-Draw
28 |/// | |
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Letter, signed by Defendant Gray, Opco acknowledged that this agreement was “[a]s a result of

| adverse developments with respect to the financial condition of [Opco].”

 

Defendants Misrepresent, Trico’s Ability To Collect

‘On Certain Refund Guaranties

 

41. One of the material items Plaintiffs relied upon in making their decision to. extend
financing to Trico was the recovery of refund guaranties issued by several Indian financial
institutions in favor of Trico Subsea AS, an Opco subsidiary, in connection with the cancellation
of four vessels under a.construction contract with an Indian shipyard, Tebma. The refund .
guaranties were similar to letters of credit, securing obligations allegedly owed by Tebma to
Opco. Defendants Varma, Morrell, Jones and Cenkus: represented to Plaintiffs that recovery of

the refund guaranties would bring approximately $20 million into Opco and its subsidiaries. .

Plaintiffs relied upon Defendants’: répresentations regarding the collection of the refund

guaranties: Based: upon the Opco projections Plaisitiffs received from Trico prior to closing the

| Opco Loan, without the refund guaranties, Opco would.have gonie cash negative by mid-2011.

In total, Defendants fepresented that Opco would receive approximately $89.8 million in value
from Tebma, including value from the vessels under contract.

42. Defendants did not advise Plaintiffs of any history of disputes with Tebma, any
prior injunction proceedings initiated by Tebma, or any other reason why the refund guaranties
could not be collected. Indeed, in the days leading up to closing of the Opco Loan, Defendant
Cenkus, in emails copying Defendants Varma and Morrell, represented to Plaintiffs that they had
written to the relevant financial institutions and no further demand or additional action was
necessary, and that thé finaricial institutions must é¢xtend them or pay them out per the tems of
the refuind guaranties. In addition, Defendants Cenkus and Varma had multiple telephone .
cohversations with Plaintiffs in late June:2010 in which they ‘confirmed that they were taking all
steps necessary to’preserve the ability to draw on the refund guaranties.

43. In the 10-Q’filed on August 16, 2010 (the “Trico Marine 10-Q”), Trico disclosed
that on July 6, 2010, just days after the Opco Loan had closed, Tebma sent a letter to Trico
asserting that Trico breached its contracts with Tebma. Tebma also initiated legal proceedings in

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1 || India to enjoin Opco from collecting on the refund guaranties (the “Tebma Injunction
2 || Proceedings”). |
3 \ 44,  Evernafter the Tebma Injunction Proceedings had been initiated, in meetings
4 | between July 26-28, 2010.at Trico’s Houston headquarters and:in subsequent communications,
5 | Defendants Cenkus, Varma and Bachmann indicated to Plaintiffs that Opco was confident that it
6 || would prevail on collecting the refund guaranties. |
7 45. However, according-to the Trico Marine 10-Q, Trico reported that its “refund
8 guarantees may not be valid or cover all of our losses in the event of a termination Q our
9 | newbuild vessel construction contracts, We may not be able to draw on the refund guarantees
10 || even if we lawfully terminate the newbuild vessel construction contracts. ” femphasis:in
i original]. This statement directly contradicts statements made by Defendant Cenkus to Plaintiffs,
12 || that were rnade with the knowledge and consent of Defendants Varma and Morrell, on June 24,
13 || 2010 regarding Trico’s ability to obtain payment under the refund guarantees: “[W]e made a
14 demand directly to the banks and'they must extend them or ‘pay them out per the terms of the
15 || refund guarantées. In other words, the demand to the banks insures extension or payout.”
16 46. Even after Trico’s public-disclosures concerning the Tebma Injunction
17 | Proceedings, Defendants Cenkus, Baclimann and Varma contiiued to- represent to Plaintiffs that
18 || they believed that Trico’ Subsea.AS would recover the yefund guaranties. .
19 47, On orabout October 12, 2010,. Trico Subsea AS entered into a settlement
20 || agreement with Tebma, and agreed to waive all claims under the refund guarantees and claims to
21 | cancelled hulls:and the Trico Service vessel and the Trico Sea vessel for a settlement payment of
22 $18.5 million in favor of Trico Subsea AS. Opco had previously delivered projections to
23 || Plaintiffs showing that Trico Subsea AS was entitled to receive approximately $89.8 million of
24 | value from Tebma, including $19.8 million in cash payments under the refund guaranties. Thus,
25 || the amount per the settlement agreement represented an 80% decrease in value from the amount
26 || represented by Opco to. Plaintiffs. |
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1 The Opco Loan Is In Default
2 48, Of the original commitment of $65 million per the Opco commitment, $28.1
3 | million has been funded to date. The unutilized portion of the commitment has been terminated.
4 || Opco has not repaid the majority of the Opco Loan, and as-of March 14, 2011, Opco owes
5 || Plaintiffs approximately $26.5 million plus interest and fees.
6 ‘49.  Opce currently is in default under the Opco Credit Agreement. In the Sixth
7 ‘Amendment to Credit Apreenient, executed by Defendants Gray and Jones, Opco has
8 || acknowledged the following defaults, among others:
9 « Failure to deliver quarterly financial statements for the fiscal quarter ending
10 September 30, 201 0; |
li © Failure to comply with the minimum cash covenant for the months ending
12 October 31, 2010 and November 30,2010; |
“43 e Failure to comply with the minimum.monthly EBITDA covenant for the
14 months ending September 30, 2010, October 31,2010 and November 30, 2010;
15 e Failure to draw on.certain Joan commitments; and
16 e Certain ctoss-defaults te the Holdco Loans.
17 || Plaintiffs have entered into forbearances as to the exercise of their remedies for such defaults, but
18 || have not waived-such remedies.
19 50. Further, the-additional misrepresentations set forth herein constitute material
20 || defaults under the Opeo Credit Agreement and the Amendments.
21. FIRST ALLEGED CAUSE OF ACTION
22 | FRAUD |
23 . {INTENTIONAL MISREPRESENTATION]
24 (by Plaintiffs against Defendants Varma, Wallace, Jones, Morrell, Cenkus and Gray).
25. 51. Plaintiffs repeat and allege each and every allegation contained in paragraphs 1-
26° || 50 of this Complaint, and incorporate them herein, . .
27 52. On orabout June 6, 2010, in connection with diligence in anticipation of a loan to
28 || Holdco and Opco, Defendants Varma, Wallace, Jones, Morrell and Cenkus directed that.

 

 

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1 || Plaintiffs be provided with revised and more detailed financial projections and other relevant
2 information concerning Holdca and Opco. |
3 53. Through the Opco Credit Agreement and:the subsequent Amendments,
4. Defendants? represented to Plaintiffs that they would operate Opco and Holdco in good faith and
5 || in furtherance of the future success of Opco and Holdco.
6 54. Moreover, through the Opco Credit Agreement and the subsequent Amendments, ©
7 || Defendants, including Defendant Gray, made the critical representations, including the
8 || following: .
9 ® Allof the financial projections (including balance sheets, statements of
10 income, cash flows, etc.} Opco issued to Plaintiffs presented fairly in all
aii material: respects. Opeo’s financial position;
12. © Opvo prepared all of the financial projections in good faith;
13. * Opco’s projections were not based upon and did not include any information
14. | that was-misteading in any material respect or which failed to take into account
15. | material information known to Opeo;
16 s Opco was not aware of any liability or obligation of any nature that was not
7 fully disclosed which, either individually or in the aggregate, could reasonably
18 be expected to have a Material Adverse Effect; .
19 e Opco and its subsidiaries were not insolvent and would not be rendered .
20° insolvent by the incurrence of additional-debt per the Opco Credit Agreement;
21 e Opco had no knowledge of.any actions, suits or proceedings pending or
22 | threatened (A) with respect to (i) any Mortgaged Vessel or (ii) any Credit
23 Document, or (B) that could reasonably be expected to have, either individually
24 "or in the aggregate, a Material Adverse Effect;, )
25 e All factual information (taken as a whole) furnished by or on behalf of Opco -
| 26 was true-and accurate in all material respects; and
27
28 | All references to “Defendants” in the First Claim for Relief are to all Defendants against
whom the First Claim for Relief is asserted unless otherwise specified.
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| » All factual information (taken as-a Whole) furnished by or on behalf of Opco
a was not incomplete by omitting to state any fact necessary to. make such
3 information (taken as a whole) not misleading in any material respect.
4 55. Defendant Gray executed the Officer’s Certificate on behalf of Opco that was
5 || provided to Plaintiffs in connection with the Opco Credit Agreement. In the Officer’s
; 6 Certificate, Gray confirmed that:
7 ° “Tajil of the representations and warranties contained in the
- 8 [Opco Credit Agreement] are true and correct in all material respects . . .”
“9 * “no actions, suits, investigations or proceedings . . . are pending or, to the
10 knowledge of [Opco and related entities], (x) threatened with respect to any
i Credit Document, or (y)} which could be reasonably to [sic] have a Material
12 Adverse Effect.”; and .
-13 ° “nothing has occurred since December 31, 2008 that has had, or could
14 | reasonably be: expected to have, a Material Adverse Effect.”
18. 56. Additionally, beginning i in May 2010-and continuing through at least the closing
16 of the Opco-Loan, through: their. communications over the telephone, through written
17 || correspondence. and in-person, Defendants engaged in numerous acts in furtherance of the fraud.
18 || Specifically, Defendants provided Plaintiffs with misleading material facts or directed that
19 | Plaintiffs be provided with thisleading material facts, including:
20 e répresentations by Defendants Varma, Morrell, Jones and Wallace
21 concerning the future value of Holdco and-Opco based on financial
22 projections provided to Plaintiffs at meetings in the course of the diligence
23 process, including but not limited to at the meetings on or about May 31,
24 2010 at Trico’s Houston headquarters; |
25 e representations and inferences by Defendants Wallace, Jones, Varma and
26 Morrell that the value of the Intercompany Notes was substantial; and
27 representations by Defendant Cerikus, Varma and Morrell regarding the ~
28. : anticipated value to be received from Tebma.
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57. Defendants, and each of them, knew that the representations described above
were false. ‘

58. Defendants, and each of them, intended for Plaintiffs to rely upon the
representations in order to obtain the financing necessary for Opco to continue its business
operations. .

59. Asa result, Plaintiffs reasonably relied on these representations and funded a total

of approximately $28.1 million to Opco. Plaintiffs were harmed because they entered into -

| agreements-and amendments concerning the Opco Loan, resulting in damages in an amount to be

proven at trial.

60.  Deféndants’ actions were committed with conscious disregard of Plaintiffs’ nights

|| and witha specific intent to defraud and injure Plaintiffs, such as to constitute fraud, oppression -

jland malice. By virtue of Defendants’ willful and wrongful conduct, Plaintiffs are entitled to

punitive and exemplary damages as determined by this Court.”
| SECOND ALLEGED CAUSE OF ACTION
FRAUD
{CONCEALMENT]
(by Plaintiffs against Defendants Varma, Wallace, Jones, Morrell, Cenkus and Gray)

61. Plaintiffs repeat and allege each and-every allegation contained in paragraphs 1-

60 of this Complaint, and incorporate them herein.

62. ~ Defendants’ had a relationship of trust and confidence with Plaintiffs resulting
from their negotiations with respect fo the Holdco Loans, the Opco Credit Agreement and the
subsequent Amendments. .

63. Through the various communications that culminated in the consummation of the

Opco Credit Agreement and the subsequent Aimendments,-Defendants intentionally failed to

disclose certain material facts. Instead, Defendants unlawfully concealed material information

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6 All references to “Defendants” in the Second Claim for Relief are to all Defendants

against whom the Second Claim for Relief is asserted unless otherwise specified.

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1 || with respect to: issues that formed the basis‘on which Plaintiffs agreed to extend the Opco Loan,

2. || including:

3 e financial projections (including balance sheets, statements of income, cash -

4 flows, etc.);

5 e the extent of Opco’s awareness as to any actual or potential liability or

6 obligation, including a possible dispute with Tebma concerning the refund —

7 guaranties,

g e the deteriorating financial condition of Opco and its subsidiaries, including the

9 failure to represent truthfully that Opco was insolvent; .
16 e the extent of ‘Opco’s knowledge of any actions, suits or proceedings pending or
Vt threatened (A) with respect to G) any Mortgaged Vessel or (ii}-any Credit |
120 Document, or (B) that could reasonably be expected to have, either individually
1) or in the aggregate, a Material Adverse Effect, including a potential dispute
14 with Tebmia.concerning the refund guaranties; and
15 ® - the value to be received from Tebma and the fact or the possibility of the
16 _ Tebma {Injunction Proceedings.
17 |, . 64. In addition, Defendant Gray executed the Officer's Certificate on behalf of Opco

18 | that was provided to Plaintiffs in connection with the Opco Credit Agreement. In the Officer's

19 | Certificate, Gray confirmed that:

 

 

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26 e “fall of the representations and warranties contained in the
21 {Opco Credit Agreement] are true and correct in all material respects . 5
22 . * “no actions, suits, investigations or proceedings . . . are pending or, to the
23 knowledge of [Opco and related entities], () threatened with respect to any
24 Credit Document, or (y) which could be reasonably to [sic] have a Material
25 Adverse Effect.”; and
26 * “nothing has occurred-since December 31,2008 that has had, or could
27 reasonably be expected to have, a Material Adverse Effect.”
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“4 65. Defendants intended to deceive Plaintiffs by concealing these material facts.
| 2° 66. Plaintiffs reasonably relied upon Defendants’ deceptions.
3 | 67... Asa result, Plaintiffs were harmed because they entered into agreements and
‘4 llamendments concerning the Opco Loan, resulting in-damages in an amount to be proven at trial.
5 68%. Defendants’ concealment was a substantial factor in causing Plaintiffs’ harm.
6 69. Defendants’ actions werecommitted with conscious disregard of Plaintiffs’ rights
7 \Land witha specific intent to defraud and injure Plaintiffs, such as to-constitute fraud, oppression
8 | and malice. By virtue of Defendants’ willful and wrongful conduct, Plaintiffs are entitled to
9 punitive and exemplary damages as determined by this Court.
10 | THIRD ALLEGED CAUSE OF ACTION
11 FRAUD
12 [FALSE PROMISE]
13 (by Plaintiffs-against Defendants Varma, Wallace, Jones, Morrell, Cenkus: and Gray)
14 |. 70, Plaintiffs repeat and allege each and every allegation contained in paragraphs 1-
15. || 69:of this: Complaint, and incorporate them herein.
16 | Fi. Through the Opco Credit Agreement and:the subsequent Amendments,
17 Defendants’ promised Plaintiffs that they would. operate Opco in good faith and int furtherance of

18 | the future success of Opco. All of the promises referenced herein were paramount to Plaintiffs
19 || agreeing to the Opco Credit Agreement and the Amendments.

20 72. During Plaintiffs’ diligence in connection with the Opco Credit Agreement,

21 || Defendants, including Varma, Wallace, Jones and Morrell, represented to Plaintiffs that Trico

22 || was-projected to eam approximately $56 million of EBITDA in 2010 on a consolidated basis and
23 || approximately $102 million of EBITDA in 2011 on a consolidated basis, that Opco had

24 significant asset value and liquidity and that the value of the Intercompany Notes was

25 |i substantial,

 

 

 

26 Wilt
27h |
2g 7 All references to “Defendants” in the Third Claim for Relief are to all Defendants against
whom the Third Claim for Relief is asserted unless otherwise specified.
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73. Through the Opce Credit Agreement and the subsequent Amendments,
Defendants, and each of them, made, caused to be made, or authorized the following critical
representations to Plaintiffs:

e All of the financial projections (including balance sheets, statements of
income, cash flows, etc.) Opco issued to Plaintiffs presented fairly in all
material respects Opco’s financial position; |

e Opco prepared.all of the financial projections: in good faith; .

e Opco’s Projections-were not based upon and did not inelude any information
that was misleading in any material respect or which failed to take into account
material information known to Opco;

* Opco was not. aware of any liability or obligation of any nature that was not
fully disclosed which, either individually or in the aggregate, could reasonably
be expected to have a Material Adverse Effect;

® Opco and its subsidiaries were not insolvent and would not be rendered
insolvent by the incurrence of additional debt per the Opco. Credit Agreement;

« Opco had no knowledge of any actions, suits or. proceedings pending or
threatened (A) with respect.to (i) any Mortgaged Vessel or (ii) any Credit
Document, or (B). that could reasonably be expected to have, either individually
or in the aggregate, a Material Adverse Effect;

» All factual information (taken as.a whole) fiimished by or on behalf of Opce
was true and accurate in all material respects; and

7A. All factual information (taken as a whole) furnished by or on behalf of Opco was
-not incomplete by omitting to state any fact necessary to make such information (taken as a
whole) not misleading in any material respect. |

75. Moreover, Defendant Gray executed the Officer’s Certificate on behalf of Opco
that was provided to Plaintiffs in connection with the Opco Credit Agreement. In the Officer’s
Certificate, Gray confirmed that: .
ffl

COMPLAINT
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Case 2:11-cv-03290-DMG-RZ Document 1 Filed 04/18/11 Page 39 0f58 Page ID #:42

l a “fajll of the representations < and wartanties contained in the
[Opco Credit Agreement] are true.and-correct in all material respects -

e “no actions, suits, investigations or procéedings . . . are’ pending on to the
knowledge of [Opco and related entities], (0) threatened with respect to any

Credit Document, or (y) which could be reasonably to [sic] have a Material

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6 Adverse Effect.” and — |
7 | ° “nothing has occurred since December 31, 2008 that has had, or could

8 reasonably be expected to have, a Material Adverse Effect.”

9 76. Within weeks after Plaintiffs funded the Opco Loan, Defendants admitted that the
10 Trico consolidated and Opco financial projections: were materially incorrect and forecasted a
qi significant decline in both the 2010 and 2011 financial projections.

12 7].  Inpart because of additional promises made by Defendants and their advisors with —
13 respect to Opco’s present and future financial-condition, Plaintiffs did not accelerate the loans or
14 exercise, other remedies.

15 7%. In October 2010, Trico subsequently provided Plaintiffs with further revised.and
16 || inereasingly devastating financial projections. Rather than the $56 million of EBITDA

17 |) Defendants represented to Plaintiffs that Trico would earn on a consolidated ‘basis in 2010, Trice
18 || now was expected to earn only $200,000.00. Further, rather than the $102 million of EBITDA
19 pence represented to Plaintiffs that Trico would eam on a consolidated basis in 2011, Trice
20 | was now projected to earn only $40 million. There were also substantial declines from the

21 || original projections at the Opco level.

22 "79 Based upon the Opco projections Plaintiffs received from Trico prior to closing
23 | the Opco Loan, without the refund guaranties, Opceo would have gone cash negative by mid-

24 || 2011. In total, Defendants represented that Opco would receive approximately $89.8 million in
25 || value from Tebma, including value from the vessels under contract. Defendants didnot advise
26 || Plaintiffs of any history of disputes with Tebma, any prior injunction proceedings threatened or

27 | initiated by Tebma, or any other reason why the refund guararities could not be collected.

 

 

28 || Indeed, in the days leading up to closing of the Opco Loan, Defendant Cenkus, in emails copying

LATHAMSWATKINS COMPLAINT

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Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 40 of 58 Page ID #:43

1 Defendants Varma and Morrell, represented to Plaintiffs that they had written to the relevant
financial institutions and no further demand or additional action was s necessary, and that the
financial institutions must extend them or pay them out per the terms of the refund-guaranties. In

addition, Defendants Cenkus and. Varma had multiple telephone:conversations, with Plaintiffs in

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5 | jate June 2010 in which they. confirmed that they were taking all steps necessary to preserve the
6 |\ ability fo draw on the refund guaranties. .
7 80. in its 10-Q filed on August 16,2010 Trico reported that its 5 “refund guarantees,
8 | aay not be valid or cover all of our losses.in the event of a termination of our newbuild ves. ssel
9 | construction contracts. We may not be able to draw on the refund guarantees even ff we

10 | lawfully terminate the newbuild vessel construction contracts.” [emphasis in origina 1]. After
"11 [the 10-Q was filed, Defendants Cenkus, Varma and Bachmann continued to represent to

12° Plaintiffs: that they believed Trico Subsea AS would recover the refund guaranties.

13 81. ‘Then, on October 12, 2010, Opceo-settled the. dispute with Tebma for $18. 5.
_ 34 | million, representing.an 80% decrease in value fromthe forecast value of $89.8.million

15 || presented to Plaintiffs. . .
. 16 ' g9. Atthe time Defendants ‘made these ptoniises, they had no intent to fui the

17 | promises, but rather, intended to obtain additional funds for Opco to continue its business
18 || operations at any cost to Plaintiffs and/or to induce Plaintiffs to forebear from accelerating the
19 || Opco Loan. | .

20 "83, As nably relied on Defendants’ false promises and funded

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21 a total of $28.1 million fo Opco.
22 |. 84. Plaintiff’ reliance on Defendants’ false promises was a substantial factor in
23 || causing its harm.
24 85. As a proximate result of Defendants’ false promises, Plaintiffs have been
25 | damaged in an amount to be proven at trial.
26 86. Defendants’ actions were committed with conscious disregard of Plaintiffs’ rights
27 | and with a specific intent to défraud and injure Plaintiffs, such as to constitute fraud,

28 fi?

 

 

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oppression and malice. By virtue of Defendants’ willful and wrongful conduct, Plaintiffs are
entitled to. punitive and exemplary damages as determined by this Court.
FOURTH ALLEGED CAUSE OF ACTION
NEGLIGENT MISREPRESENTATION
(by Plaintiffs against all Defendants)

87, Plentitts repeat-and allege each arid évery allegation contained i in ‘paragraphs 1-2

‘| 86 of this Complaint, aid incorporate them herein.

$8. —- Plaintiffs were first provided with financial information regarding Trico in
connection with their diligence in anticipation of loans at both the Heldco and Opco levels i in
May 2010. On orabout May 27, 2010, in connection with diligence in anticipation of a loan to
Opco, Defendants Varina, Wallace, Jones and Morrell, directed that Plaintiffs be provided with
revised and more detailed financial projections for Holdco and Opeo.

89. Through the Opco Credit Agreement and the subsequent Amendments,

Defendants® represented to Plaintiffs that they would operate Opco and Holdco in good faith and

in furtherance of the future success of Opco and Holdco.’

90, . Moreover, through the Opco Credit Agreement and the subsequent: Amendments,
Defendants, and each of them, knew or should have known that these ctitical representations
‘were made to Piaintiffs: .

e Allof the financial projections (including balance sheets, statements of
jncome, cash flows, éte.} Opce issued to Plaintiffs presented fairly i in all
“material: respects Opco’s financial position;

2 Opeo prepared all of the-firiancial projections in good faith; | .

e Opco’s Projections were. not based upon and did not include any information .

that was misleading in any material respect or which failed to take into account
material information known to Opco;

th

 

8 All references to “Defendants” in the Fourth Claim for Relief are to all Defendants

against. whom the Fourth Claim for Relief is asserted unless otherwise specified.

COMPLAINT
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e Opco was riot aware of any liability or obligation of. any nature that was not
fully disclosed which, either. individually or in the ageregate, could reasonably
be expected to have a Material Adverse Effect;

° Opco and its subsidiaries were not insolvent and would not be rendered
insolvent by the incurrence of additional debt per the Opco Credit Agreement;

° — Opco had no knowledge of any actions, suits or proceedings pending or
threatened (A) with respect to (i) any Mortgaged Vessel or (ii) any Credit

Document, or (B) that could reasonably be expected to have, either individually
or in. the aggregate, a ‘Material. Adverse Effect;

e All factual information (taken as:a whole) furnished ‘by or on behalf of Opco
was true and:accurate in-all material respects; and

All factual information (taken as a whole) furnished by or on behalf of Opco
was not incomplete by omitting to.state-any fact necessary to make such |
information (taken as a. whole) not misleading in any material respect.

OL ‘In approving the: Opeco Credit Agresment, Defendants Varna, Bardsen and

Staalésen ratified, confirmedand adapted all acts undertaken. by officers of Trico in connection.

-with the Opco Credit Agreement. Specifi ically, i ina meeting of Opco’s board of directors held on .

June 28, 201 0, board members Varma, Bardsen and Staalesen (i) approved and authorized the

‘Third: Amendment and the Amended and Restated Credit Agreement (the “Opco Credit
Agreement”), Gi) held that it was in the: best interests of Opeo and Hoidco (as gu arantor} to enter
into the Opco Credit Agreement, Git) authorized, empowered and directed the officers of Trico to

execute.and perforin the Opco Credit Agreement, and (iv) ratified, confirmed and adopted all

acts undertaken by officers of Trico in connection with the Opco Credit Agreement as duly

authorized acts of Trico.

92, | Defendant Gray executed the Officer's Certificate on behalf of Opeo that was -

provided to Plaintiffs in-connection with the Opco Credit Agreement. In the Officer’s

Certificate, Gray confirmed that:
ttl

COMPLAINT
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1 e “falll of the representations and warranties contained in the
2 [Opeo Credit Agreenient] are true and correct if-all material fespects ol
3 | ® “no actions, suits, investigations or proceedings vee are pending of, to the
4 knowledge of [Opco and related entities], (x) threatened with respect to any
5 Credit Document, ‘or ty) which could be reasonably to [sic] have a Material
6 Adverse Effect.”; and
7 e “nothing has occurred since December 31, 2008 that has had, or could
8 reasonably be expected to have, a Material Adverse Effect.”
9 |. 93. Defendants Bachmann, Burke, Hutcheson, Scoggins and Staehr approved the
10 | Holdco Loans by resolution and knew or should have known that Plaintiffs were provided with
I financial information. upon which they relied in their decision to extend financing to Trico. That.
12 resolution was certified by Defendant Cenkus. Defendants Bachmann, Burke, Hutcheson,
13. | Scoggins and Staehr, as directors of Holdco, were.aware that Plaintiffs had been provided with
14 certain financial projections and information, including the projections that were later revised
15 -within weeks of the closing of the Opco Loan. On information and belief, one.or more of
16 Defendants approved the guarantee of the Opco Loan by certain. subsidiaries and affiliates of
17° Holdco, including Trico Holdeo, LLC and Trico Marine Cayman, LP. .
18 94. Defendants, and each of them, knew or should have known that Trico had a
19 | history of unreliable and/or inflated projections. Defendants, and éach of them, knew ot should
20 jf have known that Trico had a history of not meeting its financial projections. Defendants, and
aw each of them,.knew’or should have known that the financial projections that were provided to
22 | Plaintiffs to induce them to extend financing to Trico were materially false and not reliable.
23 95, Additionally, beginning in May 2010 and continuing through at least the closing
24 || of the Opco Loan, through their. communications over'the telephone, through written
25 || correspondence, and in person, Defendants engaged in numerous acts in furtherance of their
- 26 | misrepresentations, including:
. 27 ® representations by Defendants Varma, Morrell, Wallace and Jones concerning |
28 the future value of Holdco and Opco based on financial projections provided
LATHAMAWATKH Nsw , | 94 , COMPLAINT

 
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to Plaintiffs at meetings in the course of the diligence process, including but
not limited to at the meetings on ot about May 31, 2010 at Trico’s Housten
. headquarters; |
° representations and inferences by Defendants, including Wallace, Jones,
Varma .and Morrell, that.the value of the Intercompany Notes was substantial;
and,
® representations by Defendants, including Cenkus and Varma, regarding the

anticipated value to be received from Tebma.

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96, These representations made by Defendants were not true, and they had no

reasonable grounds for believing the representations were true when they made them.

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97, Defendants intended for Plaintiffs to rely on the representations in order to. obtain .

12 | the fi inancing necessary for Opco to continue its ‘business operations.
13 98.  Asarresult, Plaintiffs reasonably relied on these representations and funded a total .
14 | of approximately $28 million to Opco.
15 99. Plaintiffs’ reliance.on Defendants’ omissions and statements was justified
T6- because, at all times menitioned herein, Defendants appeared to be acting in good faith, and
“17 Plaintiffs reasonably believed that Defendants would disclose all material. facts.
- 18. 100. Plaintiffs’ reliance on Defendants’ representations was a substantial factor in
19 | causing their harm.. .
20 | 101. Asa proximate result of Defendants’ misrepresentations, Plaintiffs have been
.21 || damaged in an amount to be proven at trial.
22 PRAYER FOR RELIEF
23 WHEREFORE, Plaintiffs Special Value Continuation Partners, LP, Tennenbaum DIP
24 Opportunity Fund, LLC and Tennenbaum m Opportunities Partners V, LP pray for judgment as as
25 || follows:
26 I. For compensatory damages in an amount to be proven at trial;
27 2, F or punitive damages in an amount appropriate to punish each of the

 

28 | Defendants and to make an example of each of them to-the community;

 

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3. For all attorneys’ fees and costs incurred by Plaintiffs in bringing and
prosecuting this action; and

4, For such other and further relief as the Court may deem just, proper and
appropriate, —

Dated: March 17, 2011 : LATHAM & WATKINS LLP

  
 
  

a -SQuartdrolo .
Attomeys for Plaintiffs Special Value Continuation
Partners, EP, Tennenbaum DIP Opportunity Fund,
LLC and Tennenbaum Opportunities Partners V, LP
DEMAND FOR JURY TRIAL
Plaintiffs Special Value Continuation Partners, LP,:Tennenbaum DIP Opportunity Fund,
LLE arid Tennenbaum Opportunities Partners V, LP hereby demand a trial by jury on all issues
-and all causes of action alleged against each of the Defendants. |

Dated: March 17,2011 — LATHAM & WATKINS LLP

  
   

 

: _ finy C Qtararolo ;
Attomeys for Plaintiffs Special Value Continuation
Pariners, LP, Tennenbaum DIP Opportunity Fund,

LLC and Tennenbaum Opportunities Partners V, LP

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Page 46 of 58. Page ID #:49

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ATTORNEY OR PARTY IMTHOUT ATTORNEY (Name; : “Stale Ber number, and address}: FOR couRr USE ONLY
| Geter Ci Devereaux, Esq., Bar No, 119666 .
amy C . Quartarolo, Esq., Bar No. 222144
HAM & WATKINS: LLP
Ss South Grand Avenue
Los Angeles, California 90071 34 a3 8783
_ -yeuepronewO. (213)485-12 FAX.NO. ) 89
ATTORNEY FOR iNomo) Plaintiffs Special Value Continuation Partners, LP, etal. -  OIGINAE A GOPY
SUPERIOR COURT OF CALIFORNIA, counTY oF LOS ANGELES - suPEROR NeVor tos nares
streeraporess: | 11 North Hill Street ANGEL
MAILING ADDRESS:
city aNbzip cope: Los Angeles, CA 90012-3014 MAR 17 2011
sRANCH Name: Central District
CASE MEME. areca bus LUP CONTINUATION PARTNERS, LP, ET AL. tot A. Clacke, Excoutive Offfcer/Clerk
CIVIL CASE.COVER SHEET Complex Case Designation "CASE Deputy
“x : Unitmnited (amount i Counter : . Joinder
(Amount moun Filed with first appearance by defendant | svoce: oy
oeomde's $25, 000). $28 PAGO or | tess) (Cal. Rules of Court, rule 3.402) DEPT: C 4 a7 443

 

 

items 1-6 below must. be completed (see instructions on page 2).
1. Check one box below for the case type that best describes.this case:
Auto Tort Contract /
L Auto (22) . ' Bisactrof contractwarranty (06)
1. Rule-3.740 collactions (G9)

 

Provisionally Complex Civil Litigatlor’
(Cal. Rules of Court, rules 3.400-3.403)

‘| AntitrustT: tade regulation (03) -

t
Uninsured motorist: (48) a
q

‘Other PUP DAD (Personal Injury/Property
DamageWrongful Death) Tort

| Oller collections (09)
llasurance coverage (18)

rp?

i;

: ; EnvironmentalToxic tort (30)

: Construction defect (10)
}.Mass tort 40}
+ Securities litigation (28)

 Instirance coverage'claims arising from:the
above fisted provisionally complex case

“Asbestos (04) ; | Oiher-contract (37)
Product fiabillly (24) Real Property
| !Medicet malpractice (48) + Eminent demdiivinverse
i \ ‘ Other PYPDAVD: (23) ; coridemnation (14) ,
Nor-PUPDAD (Other) Tort "1. Wrongful eviction (33)

{  Lother-réat property (26)
Untavifit ‘Detainer

{| Commercial (34):

tr Residential (32)

: Busiriess tor/unfair business. practice (07)
. 4 ‘ Clvil fights (08).
1  ?Qefamation (13)
* Xj} Fraud (16)

  

see gtey ca

types (41)

Enforcement of Judgment

1 |_| Entorcement of judgment (20)

Miscellaneous: Civil Complaint
[Rico @7)

 

a

| inteRectual property (19) —_ } Drugs-(38) CJ Other complaint (not specified above) (42)
: _ ' Professional negligence (25) Judicial Review Miscellaneous Civil Petition
“: Other non-PUPDAVD tort (35) i.” TAsset forfeiture (05) , : Partnerstilp arid corporate governance (21)
Employment ' Petition re: arbitration award. (11) ‘ Other petition (not specified abave} (43)
. Wrongful termination (35) ; Wiit of mandate (02) :
: Other employment (15) ” Other judiciat review (39)

 

 

 

2. Thiscase =x is is nol . complex under rule 3.400 of the California Rules of Court: If the case is complex, mark the
factors fequiring exceptional judicial management:

a 6X: : Large number of separately represented parties d. 1X ; Large number of witnesses

b. (x.] Extensive motion practice raising difficulter novel e. : . | Coordination. withrelated actions pending inone or more courts
issues that will be time-consuming to resolve in other countiés, states, or countries, or in a federal court
‘c, | x. ! Substantial amount of documentary evidence f. {, _{ Substantial postjudgment judicial supervision

3. ‘Remedies sought (chéck alfthat'apply): a...-x.i monetary , [ _] nonmonetary; declaratory or injunctive relief c. [X] punitive

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4, Nuriber of causes of action (specify): Four

§. Thisease | .- is ‘x.; isnot aclass‘action suit.
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B

  
 

if there are: any, known, related cases, file and serve. a notice: of related case. (
Ste: BIT [ro
AMY C. QUARTAROLO

{TYPE OR PRINT NAME)

 

7 | WIGHATORE OF PARTY ON ATTORNEY FOR PARTY)

NOTICE al
« Plaintiff must file this cover sheet. with the first paper filed in the action or proceeding (except small claims cases or cases filed
| under the Probate Code, Family Code, or Welfare and institutions Code). (Cal. Rules of Court, rule 3.220,) Failure to file may result
: in sanctions.
| « File this cover-sheet.in addition to any cover sheet required. by focal court rule.
« If this case is complex under rule 3.400 et seq. of the California Rules of Court, you-must serve a copy of this cover-sheet on all
other parties to the action or proceeding.
« Uniess-this: isa collections case under rule 3. 740 ofa complex case, this cover sheet will be used for statistical purposes only,
Page Jot 2 |

 

 

 

Form Adopted for Mandatory Use Cal. Rules of Cour, rules 2,30, 3.220, 3.400-3.403, 3:740;
Judicial Council of Galfornia CIVIL. CASE COVER SHEET Sol ubions Cal Standards of Judiciat ‘Administration, std, 3.70
EN-016 [Rev, uly 1.2007] #
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 47 of 58 Page ID #:50

— ; INSTRUCTIONS ON HOW TO.COMPLETE THE COVER SHEET ‘CM-010
To Plaintiffs.and Others filing First Papers. If
coriplete and file, along with your first paper, the-Civil Case Cover Sheet contained on page 1. This information will be used to comple
statistics. about the types and numbers of cases filed. You must compiéte items*1 througt6-0n the sheet. In item 1, you must check

 

’ ene. box for the case type that best describes the case. If the case fits both ‘a general-and a more specific type of case listed in item 1,

check the more Specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.

To assist you it completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
‘sheet must be'filed only with your initia paper. Failure to file a cover sheet with the first paper filed in a civil case- may subject a party, its
counsel, or both to sanctions. under rules 2.30 and 3.220 of the California Rules of Court.

To Paities in Rule 3.740 Collections Cases. A “collections case” under rule 3.740 is defined as an action for recovery of money owed
in a sum stated -to-be cerfain thal is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which

property, services, or money was acquired on credit. A collections case does nol include an action seeking the following: (1) tort
‘damages; (2) puriltive ‘damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of atiachment.
The Identification: of a case.as a rule 3.740 collections: case-on this form means that it will be exempl from the general ltime-for-service
requirements and.case management niles, unless.a defendant files‘a responsive pleading. A rule 3.740 collections case willbe subject,

iu aré filing a-first paper (for example, a:complaint) in a civil case, you must .

tothe requirements-for'serviceand obtaining a judgment inrule 3.740:

To Parties in’Conmipléx:Cases.. in complex cases only, parties must-also use’ th
- case is Complex. if'a plaintiff believes the case is :

completing the appropriate boxes ‘in items 1 and 2.1

50 e Civil Case Gaver Sheet to designate whether the
complex tinder rule'3.400.of the California Rules of Court, this must be Indicated by
{ a plaintiff designates.a-case-as. complex, the caver sheet must be served with the

complaint on all partiés to the action. A defendant may file and-serve.no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if he plaintiff has made‘no designation, a designation that

the case is Complex.

Auto Tort . :
Auto (22)—Personal injury/Property
Daniage/Wrongful Death
Uninsured. Motorist (46)-Giithe
ease involves. an.unifisured
motorist claim subject to
afbilration, check this item
instead of Auto)
Other PUPDAWVD (Personal Injury!
Property Damage/Wrongful. Death)
Fort . :

 

. Malpractice

Other PUPDAWE: (23)

Premises Liability (é.g.,-slip
ang. fail):

intentional Bodily Injury/PDAWD
{e.g., assault, vandalism)

Intentional infliction of
Emotional Distress

Negligent infliction of
Emotional Distress

Other PUPDAND

Non-PUPDIWD (Other) Tort

Business Tort/Unfair Business
Practice (07)

Civil Rights (e.g.. discrimination,
false arrest) {not civil
harassment) (08).

Defamation (e:¢., slander, libel)
(13).

‘Fraud-(16)}

Intellectual Property-(19)

——~ Professional. Negligence: (25)
Legal Malpractice.
Other Professional Malpractice
(not medical-orlegal)
“Other Non-PlPDAWD Tort (35)
Employment .
Wronglul Termination (36)
Other Emptoyment (15)

CASE TYPES AND EXAMPLES

Contract ;
Breach of Contract(Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract’Wairanty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent‘ Breach of Contract
Warranty .
_ Other Breach of Contract/Warranty
Goliestions (é.q., nidhey owed, open

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Collection Cas

    

a )
lection Case—Seller Piatstif
Other Promissory Note/Collections
Case.

   
   

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Contractual Fraud
‘Other Contract Dispute

Real Property

Eminent Domainiinverse
Condemnation (14)

Wrongfil Eviction (33)

Other Real Property (e.g., quiet title) (26)
Writ of Possession-of Real Property:
Morigage Foreclosure —

Quiet Title —
Other Real Property: {not eminent
domain, landiordfenant, or
foreclosure)

Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves iliegal
drugs, check this item; otherwise,
reportas Commercial or Residential)

Judicial Review >

Assel Forfeiture (05)

Petition: Re: Arbitration Award (11)

Writ of. Mandate (02) .
AWwiit-Administrative Mandarnus
Writ-Mandamus on Limited Court

Case'Matter
Writ-Other Limited Court Case
Review

Other Judicial Review-(39)

Réview'of Health Officer Order
Notice of Appéal-Labor |
Commissioner Appeals

Provisionally Comptex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)

Antitrust/Trade Regulation (03)
Construction Defect.(10)
Claims Involving Mass Tort (40)

‘Securities Litigation (28)

Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)

Enforcement.of Judgment

Enforcernent-of Judarent:(20)
Abstract of Judgment (Out of
County)
Confession of Judgment (nen-
domestic rélations)
Sister State Judgment /
Administrative: Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
. Other Enforcement of Judgment
Case

Miscellaneous Civil Complaint

RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint .
Case (non-tort/non-complex)
Other Civil Complaint
{non-tort/non-compiex)

Miscellaneous Civil Petition

Partnership and Corporate
Governance (24)

Other Petition (not specified
above) (43) ,
Civil Harassment
Workplace Violence
Elder/Dependent Adutt

Abuse ,
Election Contest
Petition for Name Change
Petition for Relief from Late
Ciaim
Other Civil Petition

 

CM-O1D fRav huly 1, 2007}

CIVIL CASE COVER SHEET

Page 2ot2

 

 

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 48 0f 58 Page ID #:51

COPY

SHORT TITLE: : . : CASE NUMBER ©

’ SPECIAL VALUE CONTINUATION PARTNERS, LPL

 

 

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Bese

FOR COURT USE ONLY

 

 

>

CONFORMED Copy

ORIGINAL FILED
SUPERIOR COURT OF CALL
COUNTY OF LOS ANE Re

 

 

CIVIL CASE COVER SHEET ADDENDUM AND MAR 17 2011
STATEMENT OF LOCATION oO
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO John A. Clarke, Exeeutive Officer/Clerk

COURTHOUSE LOCATION) Ae , Deputy

 

This form Is required pursuant to LASC Local Rule.2.0 in all new civil case filings i in the Los Angeles Superior Court.

 

 

 

Item 1. Check the types of hearing and ffl in the estimated length of hearing expected for this case:

JURY TRIAL? yes ctassaction? |_lves ummeo case? Clyes time estimateo FOR TRIAL O HOURS; DAYS
ttem i. Select the-correct district and courthouse lacation (4 steps —If you checked “Limited Case", skip to Hem fH, Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet Form, find the main civil case cover sheet heading for your
case in the left margin below, and, to the right in:Coltumn.A, the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column &, circle the reason for-the court Jocation choice that. applies to the type of action you have checked.
For any exception to the court location, see Los Angelés Superior Court Local Rule-2.0.

 

Applicable. Reasons for Shocsing Courthouse Location (see Column © below}

 

. Class. Actions. must be'filed in:the Stanley. Mosk Courlhouse, Central- Bistict. 6. Location of property or permanently garaged vehicle,
V : In Cental (Olher county, or no. Bodity Injury/Property: Damage). . Location where. petitioner resides.

vhere cause of ‘Location wherein defendantires onder functions wholly,
: iG ‘bodily s injury, death or damage occurred: . Location where one or more of anties reside.

. Location where ‘pertormancte required or defendant resides. . 48: Location'of Labor Commissioner oi ice

 

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Step 4: Fill in-the information requested on page 4 in Iter Il; compiete Item IV. Sign the declaration.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A ‘ B. Cc
Civil Case Cover Sheet , : Type of Action Applicable Reasons -
CategoryNeo. : (Chéck-only one} See Step 3 Above:
e Auto (22) () AT100° Motor Vehicle -~ Personal injury/Property Damage/Wrongful Death 4.,.2.,4.
oO :
5 r " °
<= “Uninsured Motorist (46) C) A710 Personal InjuryiProperty Damage/Wrongfd Death ~ Uninsured Motorist. | 1.2.4.
(1 AGO70 Asbestos Property Damage 2.
Asbestos (04) ‘
Pe : C1 A?221 Asbestos - Personal injuryAVronglul Death
€ .
o
: = = Product Liability (24) 0 A7260 Product Liability (not asbestos or loxic/environmental) 1.,2.,3.,4..8
23 7
e pans : .  A7210 Medical Maipraciice - Physicians & Surgeons 1.2.4.
2 Medical Malpractice (45} / .
= 2 © A?240 Other Professional Health Care Malpractice 1.,2.44.
SB g
5s
g 5 O A?250 Premises Liabillty (e.9., slip and fait} 1.2.4
Oth we 2a 4,
S Personal injury O A?230 Intentional Bodily Injury/Property Bamegenyrongtit 8 Death (e.g., 1.2.4
= Bs Property Damage assault, vandalism,. étc.), ue
De 1.2.3.
o Wrong Death ( A7279 Intentional Infilction of Emotional Distress ; uae
0 A7220 Other Personal Injary/Proparty. Oamage/Wrongfut Death 142, 4
LACIV 109 (Rev.14) CIVIL CASE COVER SHEET ADDENDUM : LASG, rule 2.0.

LASC Draft 03:04 . _ AND STATEMENT OF LOCATION Page 1 of 4

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 49 of 58 Page ID #:52

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SHORT THLE: , CASE NUMBER
SPECIAL VALUE CONTINUATION PARTNERS, LP, &
A B ¢
Civil Case Cover Shesat . Type oF Actlan Applicable Reasons -
Category No. ; {Check only ana} oo _ Sea Step 3 Above
Business Ton (07) € A8029 Other Commercial/Business. Tort (nol fraud/breach of contract} 1,203,
a Civil Rights (08) O AG0OS Civil. RighisDiscrimination 42,2, 3,
es : .
« § — j " ;
38 Dalamation'(13) @ AG010 Defamation {slandedlibe!) 4,2,3.-
33 : : |
=o . | , _
a5 Fraud (16) 6049 “Fraud {ao contract} 1,2
ce wd -
SS "
eo _ | A6047 Legal Malpractice 1.2.3,
a 2 Professional Negligance (25)
ge & 0 A650 Other Professional Malpractice (not. medical of legal) . 1,2, 3.
2&8
Other (35) ©. AGGZ5 Other Non-Personal injury/Propeny Damage tort 2.,3.
& Wrongfut Termination (36) | 0 A8037 Wrongful Termination 1.4.2.3,
= : :
oa
2 O AG024 Cihar Employment Complaint Case , 4,23.
— Other Employment. (15) , .
ui {i A6109 Ldbor Commissioner Appeals 40.
— oor ree
f1 A6004. Breach of-Rental/Lease Gontract (not unlawful detdiner or wrongful 2. 5:
, eviction) - : _
8 tract? W
reach of Contract Warranty G A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence) 2,6.
{not insurance) 0 A8019 Negligent Breach of ContaclWarranty (no fraud) 4 205.
Q A6028 Other Breach of ContractWarranty (nol fraud or negligence) 142.5.
8 C1 A6002 Collections Case-Seller Piaintiff 2, 5a 8.
2 Collections (09) -
& O) A6012 Other Promissory Note/Collections Case 2.5.
Insurance Coverage (18) £} A6DIS Insurance Coverage (not complex) 1.2.8, 8.
G AG009 Contractual Fraud 1, 2., 3.5.
Other Contract: (37) 0. A034 Tortlous.interferénce 1.,2., 3., 5,
0 Abtet Other-Contract Dispute{not breachiinsurance/fraudinegligence) 1,2, 3., 8.
ean Cay .A7300 Eminent Domain/Condemnation Number of parcels 2
& —
a Wrongful Eviction (33) = | (1) AG023. Wrongful Eviction Case 2.,6.
2 : -
bn O A6G18 Morigage Foreclosure 2., 6.
s .
o Other Real Property (26) QO AG032 Quiet Tile 2., 6.
O A6060 Other Real Property (not eminent domain, tandlord/tenant, foreciosure} | 2., 6.
a . Unlawtal Detaine Commercial O A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction) 2., 6.
ge
Cc 7
3 Untawfut sailed (} A8620 Unlawful Detainer-Residential (not drugs of wrongful eviction) 2, 6.
3 we
Sneed) | C1 A6020F Untawul Detainer-Foreciosure 2.6.
5
Unlawful Detainer-Drugs (38) | O A6022 Untawful Detalner-Drugs 2., 6
LACIV 109 (Rev.04/11) : GIVIL CASE.GOVER SHEET ADDENDUM LASC, rule.2.0

LASC Draft. 03-04 AND STATEMENT OF LOCATION Page.2 of 4

 
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Provistonally Compléx Litigation

 

 

 

 

 

 

 

 

 

O AG153. Writ - Other Limited Court Case Review

 

SHORT TITLE: . : pes . a | CASE NUMBER
SPECIAL VALUE CONT. INUATION PARTNERS, LP.
B
Civil Case Cover Sheet Type of Action Appilcable Reasons -
Category No, (Check only ons} See Step 3 Abova

Asset Forfeiture (05) 0 A6108. Asset Forfeiture Case 2., 6.
z Petition re. Arbitration (14) O AG11S Petition to. Compoal/ConfirmVacate Arbitration 2,6
> .
3 , °
= 7 AG151 Writ. Administrative Mandamus 2.,.8,
3 :
2 ‘Writ of Mandate {02} O ABtS2 Writ- Mandamus on Limited Court Case Matter 2.
3 .
> 2

 

 

   

 

 

Olher Judicial Review {38)

 

Antitrust Trade ‘Regulation (03)

DAG150. Other Writ Judicial Review 2..8

TG A6003 Antsy iene
O Asoo3 AnlitrustTrade Regulation . 1.2.8

 

 

 

 

 

 

 

Construction Detect (10) ' |@ A8607 Construction Defett 1.2.3,

Claims ne Mass Tort | asoos Claims Invelving Mass Tort 4.28

Securities Litigation (28) 8 6035 Securities Litigation Case 1,,2., 8.
Eine (20) D AG036. Toxic TorVEnvironmental 1,2.,3.,8:

 

 

 

 

. inguranice Coverage Claims

 

G asot4 insurance ‘Coverage/Subrogation (complex case only)

 

 

 

 

 

 

 

 

 

  

  

 

  

 

 
   
   

 

  

 

 

 

 

 

 

 

 

from Complex Case (41)
OF A6141 Sister Stale: Judginent 29
= z 1] -AB160 Abstractor Judgment: 2/8.
5 — Efiforcement  Asto7 Confession of Judgment (non-demesiic retations) 2.9,
Ss 3 of dudgment (20) & A6140 Administrative Agency Award {notunpaid taxes) . 2., 8.
5 o O Abita Petition/Certificate for Entry of Judgment'on Unpaid Tax . 2.8...
 A6192 Other Enforcement of Judgment Case ' 2., 8., 9,
we RICO (27) Q A6033 Racketeering {RICO) Case : 1.,2., 8,
$= —
3 S 0 A6o30 Declaratory Relief Only . 4.62, 8,
3 . .
3 a __ Other Compiainis O Aso4e injunctive Rellef ‘Only (not domesticharassment) 2., 6.
25 (Not Specified Above) ($2) | oy agaqy Other Commercial Complaint Case {non-tortnon-complex) 1.,2,,8.
° O AGCOD Other ciyit Complaint {non-tottinon-complex)
Paitnership Corporation AGIES. a: ‘and Corporate Goveinaans.; 3p.
Governance (24) S AG173. Partnership-and Corporate Govemance Case 2.,.B:
o 6 GF AG12%. Clit Harassinent 23:9,
a 5 5) A223 ‘Workplace Harasement 2,3, 8.
2 = : ; ede cts
s eas AB124. | ependent Adult Abuse | 23,9,
8 2 Olfier Pélitons QO Asi2s Eider/Depen lent Adult Abuse Case 243. 9
Be (Not Spe  A6190 Election’Contest 2.
=o 1 A8410 Petition for Change of Name 2,7.
0 A6470  Peittion for Rellef'from Late Claim ‘Law 2., 3... 4., 8.
O A6160 Other. Civil Petition 2.,9.
LAGIV 409 (Rev. 01/11) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.0
{

LASC Draft 03-04

AND STATEMENT OF LOCATION

Page 3 of 4
 

 

 

 

’ CASE NUMBER

 

 

[- a SPECIAL VALUE CONTINUATION PARTNERS, Le |

 

Item 12, Statement of Location: Enter the addréss of the accident, party's residence or place of business, performance, ot other
‘Gheumstance: ifidicated in Item I.,. Step 3.on Page 1, as the proper reason for filing in the court location you selected.

 

 

 

 

REASON: CHECK THE NUMBER UNDER COLUMN .C } ADDRESS: . :
WHICH APPLIES IN THIS CASE 355 South Grand Avenue

O11. O2. 3. G4. 05. o6. 07.08 O9. o10.

 
  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oiry, : STATE: 2iP cope:

Los Angeles CA 90071

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nem IV. Declaration of Assignment: | declare under penalty of penury under the taws of the. State of California that the foregoing is true

8nd correct and that the above-entitied matter is Properly filed for assignment to the Stanley Mosk courthouse jin the

Central District of the Los Angeles Superior Court [Code Civ. Prac., § 392 et Seq., and LASC Local Rule 2.0, subds.
(b), (c) and (ayy.

Dateg: March 17, 2041

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PLEASE HAVE THE FOL, OWING ITEMS COMPLETED AND READY To: BE FILEDINORDERTO |
= PROPERLY COMMENGE YOUR NEW COURT CASE:

 

 

 

 

 

 

 

 

 

Original Complaint or Petition,
If filing a Complaint, a completed Summons form for issuance by the Clark.
Civil Case Cover Sheet form CM-010,
- Complete Addendum to Civil Case Cover Sheet form LASC: Approved CIV 109 (Rev. 01/07),

Payment in full of the’ filing fee, amless fees have been Waived,

PA eR we pe a

Signed order appointing the Guardian ad-Litem, JE form FL-935, if the plaintiff or petitioner is a minor under 18 -
’ yeats of.age, or if required by Court,

 

 

 

 

LAGIV 109 (Rev. 0111) CIVIL CASE COVER SHEET ADDENDUM LASC, rule 2.6
. LASC. Draft 03-04 AND STATEMENT OF LOCATION Page 4 of 4
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 52 0f 58 Page ID #:55

. . SUP LRIUK UUURE UF CALIORNIA, COUNTY OF LOS ANGELES
_4 . , NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
Case Namber

ISTO BE'SERVED WITH THE SUMMONS AND COMPLA] C 4 J 7 4 4

Your case ig assigned for all. purposes to the judicial officer indicated below (Local Rule 7.30), There is. additional information on the reverse side of this fo

 

THIS TOY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ASSIGNED JUDGE DEPT | ROOM ASSIGNED JUDGE DEPT ROOM
Hon. Carolyn B. Kahl 1 534 Hon. Holly E. Kendig 42 416
Hon. J, Stephen Czuleger 3 224 Hon. Mel Red Recana "45 529
Hon. Luis A. Lavin 13 | 630 Hon. Debre Katz Weintiaub 47 507
Hon, Terry A, Green 14 | 300 Hon, Elizabeth Allen White 48 506
Hon. Richard Frain 15 307 Hon. Deirdre Hil 49 | 509
Hon. Rite Miller 7 7 16 «1 (306 | Hon, John Shepard Wiley Ir. 50 508
Hon, Richard B, Rico , 17 309 Hon. Abraham Khan 51 Su
‘Hon, Rex Heeséman 19 “Su Hon. Susan Bryant-Deason 52 510
Hon. Kevin-C, Brazile = 20 340 Hon. John P.. Shook 53 513
Hon. Zaven V. Sinanian 23 345 Hon, Emest M. Hiroshige 54 | 512
Hon, Robert L, Hess 24 314 | | Hon. Malcolm H. Mackey oo 55 : 515 .
Hoa. Mary Aun Murphy 25 317 Hon, Michael Johnson 56 514
Hon, James R. Duin | 26 316 | | Hon Ralph W. Dau 57 | 517
Hon. ‘Yvette, Palazticlos 28 318 Hon, RolfM. Trea 58 516
Hon. John A Kronsiadt 30 400 Hon, David T. Minning-———> q 61 Ty 632 _
Hon. ‘Alan 8. Rosenfield 31 407 Hon. Michael L: Stem “62 600 Ty
Hoi. Mary H. Strobel 32 | 406 Hon, KennethR.Freeman 64 601
Hon. Charles P, Palmer . 33 | 409 | | ion Mare Mooney 68 617
[Hon Amy'D; Hogue 34 | 40g Hon. Ramona See , 69 621
‘| én, Daniel Buckley " ) 35 4 Hon. Soussan G. Braguera 74 729
“Hoon, ‘Gregory Alarcon | as | sae Hon. Ruth Ann Kwan 72 i
“lon. Joanne O'Donnell , . 37 . 413 Hon. Teresa Sanchez-Gordon 74 735
Hoon, Maureen Dutty-Lewis 38 412 Hon. William P, Fahey {| 2 | no
Hon. Michael C.Solner 39 415 "Hon, Emilie H. Elias* 324 | CCW
Hon. Michelle R. Rosenblatt 40 414 other
Hon, Ronald M. Sohigian 41° 417

 

 

 

 

 

 

 

 

 

 

 

*Class Actions :
All ofass actions aré initially assigned to Judge Hmilie 2. Elias in Department 324 of the Central.Civil West Courthouse (600 S.Commonwealth Ave., Los Angeles 900
This assignnient is for the purpose of assessing whether or not the cage is complex within the meaning of California Rules of Court, rule 3.400. Depending on the
Outcome of that assessment, the class action case-may be reassigned to one of the Judges of the Complex. Litigation Program or reassigned randomly to a court in the
Cenitral District. . .

Given to the Plaintifi/Cross-Complainant/Attorney of Record on JOHN A. CLARKE, Executive Officer/Clerk

By. _. _, Depnty Cle:
LACIV CCH 190 (Rev. 04/10) NOTICE OF CASE ASSIGNMENT — : Page lof 2 -

LASC Approved 05-06 UNLIMITED CIVIL CASE

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 53 0f58 Page ID #:56

INSTRUCTIONS FOR HANDLING UNLIMITED CIVEL CASES
The following critical provisions of the Chapter Seven Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION

 

The Chapter Seven Rules were effective January- 1, 1994. They apply to all general civil cases.
PRIORITY OVER OTHER RULES

‘The Chapter Seven Rules shall have priority over all other Local Rules to 0 the extent the others are inconsistent.
CHALLENGE TO ASSIGNED JUDGE

A challenge under Code of Civil Procedure section 170.6-must be made within 15 days after notice of assignroent for all purposes to
a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Individnal Calendaring Cowt-will be subject to processing wader the following time standards:
’ COMPLAINTS: All complaints shall be served within 60 days of fling and:proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leaveof court first being obtained, no cross-complaint-may be filed by any party after their
answer is ‘filed... Cross-complaitits shall be served within 30 days of the filing date and a & proof of service filed within 60 days of the
filing date,

- A Status: Conference will be scheduled. by the assigned Independent Calendar Iudge no later than 270 days after the filing of the
‘complaint. Counsel must -be fully prepared: to discuss the following issues: alternative: disputé resolution, bifvrcation, settlement,
‘rial date, and:expert‘witnesses,

FINAL STATUS CONFERENCE

The Court will require the parties at a status conference not more than 10 days before the trial to have timely filed and served all
motions.in liniine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and
special jury instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days
befors this conference, counsel must also have exchaiiged lists of exhibits and witnesses and have submitted to the court a brief
statement of the case to be read to the jury panel as required by Chapter Hight of the Los Angeles Superior Court Rules.

SANCTIONS

The. court will impose. appropriate sanctions for the failure or refusal ta comply with Chapter Seven Rules, orders made by the

Court, and time standards or deadlines established: by the Court or by the Chapter Seven Rules. ‘Such sanctions may be on.a party or
£ appropriate on counsel for the party.

This i is nota complete delineation of the Chapter. Seven Rules; and-adherence only te the above provisions is therefore
not a@ guarantee against the imposition of sanctions ‘under Trial Court: ‘Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is:-absolutely imperative.

LAGIV CCH 190 (Rev. 04/10) NOTICE OF CASE ASSIGNMENT — Page 2 of 2
LASC Approved 05-06 UNLIMITED CIVIL CASE

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 54 0f58 Page ID #:57

 

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION PACKAGE
(CRC.3.221 Information about Alternative Dispute Resolution}
For additional ADR information and forms visit the Gout ADR web appfication atwww, lasuperiercourt.org (click on ADR),

The platitiff shall serve.a copy of this Information Package on each defendant along with the complaint (Civil only).

 

What Is ADR:

Alternative Dispute Resolution (ADR) is the term used to describe all the other options available for seliling a dispute which once had to
be settled in-courl, ADR-processes, such as‘artiltration, mediation: neutral-evaluation (NE}, and settlement conferences, are fess formal
than a court process and provide opportunities for parties to reach an agreement using a problem-solving approach.

There are many different kinds of ADR. All of them utilize a "neutral", an impartial person, to decide the case or heip the parties reach an
agreement. :

Mediation: . oO
in mediation, a neutral person called a ‘mediator’ helps the-parties try.to reach a mutually acceptable resolution of the dispute. The
mediator does not-decide the dispute but helps the parties-cormmunicate so they can try to settle the dispute themselves. Mediation leaves

control of the outcothe with the parties.

 

‘Gases for Which Mediation May Be Appropriate
Mediation may be particularly useful when parties have.a dispute between or among family members, neighbors, or business
partners. Mediation is aiso effective when emotions are getting in the way of resolution. An effective mediator can hear the
parties out.and help them communicate with each other in an effective and nondestructive manner,

Cases for Which Mediation May Not Be Appropriate

Mediation may not-be effective if one of the-parties is unwilling to cooperate or compromise. Mediation also may not be effective
if one. of the parties has a significant advantage in power over'the other. Therefore, it may nat be a good choice if the parties
have a.history of abuse: or victimization.

Arbitration:

In arbitration, a, néutral person called an: “arbitrator” hears arguments and evidence-from each side and then decides the outcome of the
dispute. Arbitration is‘lessformai than.a tral, and the rules of evidenice-are offen rélaxed. Arbitration may be either “binding” or
“nonbinding.” Binding arbitration means that the parties waive their rightto a trial and agree-to accept the arbitrator's decision as-final.
Nonbinding atbitration means that the parties are free to-request.a trial if they do not accept the arbitrator's dacision.

   

Cases for Which Arbitration Me y Be:Appropriate

Arbitr or cases where the parties want another person to decide the utcome of their dispute for them but would like .
to.avoid:the formality, tirtis, and expense of atrial, Itiay also be ‘appropriate for complex matters where. the parties want a
decision:maker who hag training or experience in the subject matter of the:dispute. :

  

Cases for Which Arbitratiori May Not Be Appropriate.
if parties want to. retain control over-how their dispute is resolved, arbitration, particutarly binding: arbitration, is not appropriate. In
binding arbitration, the parties genérally cannot appeal the ‘aibilfator's award, even. ifit is not supported by the evidence or.the

_ law. Even in nonbinding arbitration, ifa party requests a {fal and does-not receive'a more favorable resull at trial than in
arbitration, there may.be penalties.

Neutral Evaluation: : :

In-neuifal evaluation, éach party gets a chance to present the case to a neutral person called an “evaluator.” The evaluator then gives an
opinion on the strengths and weaknesses of each party's evidence and arguments and about how the dispute could be resolved. The
evaluator is often an expert inthe subject matter of the dispute. Although the evaluator's opinion is nat binding, the parties typically use it
as a basis for trying to-‘negofiate a resolution of the dispute.

Gases for Which Neutral Evaluation May Be Appropriate .
Neutral evaluation may be most appropriate in cases in which there are technical issues that require special expertise to resolve
or the only significant issue in the case is the ammount of damages: . .

Cases for Which Neutral Evahudtion May Not Be Appropriate :
Neutral evaluation may not be appropriate when there are significant personal.or emotional barriers to resolving the dispute.

Settlement Conferences: ; :

ettlement conferences may-be either. mandatory or voluntary. In both types of settlement conferences, the parties and their attorneys

meet with ajudge-or-2. neutral person called:a "settlement officer” to discuss possible settlement of their dispute. The judge or settlement
St idke'a decision th the case but assists the partiés in evaluating thé.strengths and weaknesses of the case and in

 
  

officer. does fotir
negotiating a settlement, Settlement conlerences:are: appropriate in-any case where settlement is an option. Mandatory settlement
conferences are:.often:held close tothe date.a case is set for trial.

LAADR 065 (Rev. 05/09) . Page 1 of 2
LAST Approved 10-03

 

 

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 55o0f58 Page ID #:58

 

LOS ANGELES SUPERIOR GOURT ADR PROGRANS
CIVIL: ,

° Civil Action Mediation (Governed by. Code of Civil Procedure (CCP) seclions 1775-1775.15, Califorila Rules of Court, rules 3.860-3.868 and
3 .870-3.878, Evidence Cade sections 1115-1128, and Los Angeles Superior Court Rules, chapter 12.)

« Retired Judge Settlement Conference

« Neutral Evaluation (Governed by Los Angeles Superior Court Rules, chapter 42:)

» Judictal Arbitration (Governed by Code of Civil Procedure sections 1441.10-1141.31, California Rules of Court, rules 3,840-3.830, and Los .
Angeles Supeiior Court Rules, chapter 12.} :

° Eminent Donvain Mediation (Goveried-by Code of Civil Procedure section 1250.420).

« Civil Harassment Mediation

  

-@ Mediation:
a) Forensic Certified Publis Accountant(CPA) Settlement Conference

4 Settlement Conference

e Nonbinding Arbitration (Governed by Family Code section 2554.)
PROBATE: ,

« Mediation

2 Settlement Conference

 

NEUTRAL SELECTION

 

Parties may select'a mediator, neutral evaluator, or arbitrator fromthe Court Paity Select Panel or may hire sorneone privately, at their

| discretion, Ifthe parties.utllize the Random ‘Select Medidtion or Arbitration Panel, the:parties will be assigned on.a random basis the

name of one neutral who meets the case criteria enfered on the court's website.

 

Parly‘Select The Parly Select Panel consists of mediators, neutral evaluators, and arbitrators who have achieved a specified level
Panel df experience jiv courtconnected.cases. Fhe parties (collectively) may be-charged $150.00 per hour for the firstthree
a hours:of hearing time. Thereatter, the parties may bécharged for additional hearing time on an hourly basis at rates
established by the neutral Ifthe parties consent in writing. .
Random Select The Random Select Panet consists of traingd mediators, neutral evaluators, and arbitrators who haye not yet gained
‘Panel the experience to qualify for the Parly Seteet Panel, aswell as éxperiericad neutrals who miake thenisgives available
pro bord as.a. way of supporting the judicial sysiem, itis. the'policy off{he Court that all Random Select Panel
yolutiteer mediators, neutral evaluators, and arbitrators provide thres: hours heating time per case: ‘Thereafter, the
parties: may: be charged for additional hearing time.on-an hourly basis at rates established by the neutral. ff the parties:
consent in writirig: °

| Private Neutral The market rate for private neutrals can, range from $300-$1,000 per hour.

ADR. ASSISTANGE

ere ere

For assistance:regetding ADR, please. contact the ADR cleric at the:courthouse in which your case was filed.

  

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4

Parlially Fundad-by the Los Angeles County Dispute Resolution Program
. Acomplete list of the County Dispute Resolution Programs is available online and upon request in the Clerk's Office ©

LAADR.005 (Rev. 05/09) . . Page 2 of 2
LASC. Approved 10-03 ;

fe

Bb

 

 

 
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 56 of 58 Page ID #:59

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dolly Gee and the assigned discovery
Magistrate Judge is Ralph Zarefsky.

The case number on all documents filed with the Court should read as follows:

CV11- 3290 DMG (RZx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsequent documents must be filed at the following location:

[X] Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2: 11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 57 of 58

age ID #

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA C O P

CIVIL COVER SHEET

 

1 (a) PLAINTIFFS (Check box if you arc representing yourself Q)

Special Value Continuation Partners, L.P., a Delaware limited partnership;
Tennenbaum DIP Opportunity Fund, LLC, a Delaware limited lability
company ; and Tennenbaum Opportunities Partners V, LP, a Delaware limited

DEFENDANTS

Richard Bachmann, Kenneth Burke, Edward C. Hutcheson, Myles Scoggins, Per

Staehr, Geoff A. Jones, D. Michael Wallace, Brent Cenkus, Stephen Morrell,

Rishi Varma, Mads Bardsen, Bjom Inge Staalesen, Gerald Gray, as individuals

 

(b) Attomeys (Firm Name, Address and Telephone Number. If Ifyou are representing

yourself, provide same.)

Peter W. Devereaux, Esq., Bar No. 119666, Robert A, Klyman, Esq. Bar No.
142723; Latham & Watkins LLP, 355 South Grand Ave., Los Angeles CA

90071; Tel: 213-485-1234

 

Attomeys (If Known)

David T. Biderman, Bar No. 101577, Steven G.F, Polard, Bar No. 90319

PERKINS COIE LLP, 1888 Century Park E,, Ste, 1700, LA, CA 90067-1721,

Tel: 340-788-9900; Olcg Elkhunovich, Bar No. 269238, SUSMAN GODFREY
LLP, 1901 Ave. of the Stars, Ste. 950, LA, CA 90067-6029, Tel: 310-789-3193

 

I. BASIS OF JURISDICTION (Place an X in one box only, )

010.8. Government Plaintiff

12US. Government Defendant 4 Diversity (Indicate Citizenship
of Parties in Item TD)

(13 Federal Question (U.S,
Government Not a Party)

IV. ORIGIN (Place an X in onc box only,)

O11 Original
Proceeding

State Court

62 Removed from 3 Remanded from (4 Reinstated or
Appellate Court

 

Reopened

. PYF
Citizen of This State Gl
Citizen of Another State 02

Citizen or Subject of a Foreign Country 013

DEF
o1

Ww

03

(5 Transferred from another district (specify):

HL CITIZENSHIP OF PRIN CIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant. )

of Busitiess in this State

Incorporated and Principal Place 05

of Business in Another State

Foreign Nation

O6 Multi-
District
Litigation

06

rrr DEF
{ncorporated or Principal Place 4

o4
Q5

a6

C17 Appeal to District
Judge from
Magistrate Judge

 

V, REQUESTED IN COMPLAINT: JURY DEMAND: Yes « O No (Check

CLASS ACTION under F.R.C.P, 23: O Yes No

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are fiting and write a brief statement of cause. Do
28 U.S.C. § 1452, 28 U.S.C. §§ 1332, 1334, 1441 and 1452, and Federal Rule of Bankruptcy Procedure 9027

VIL NATURE GF SUIT (Piace an X in one box only.)

“Yes” only if demanded in complaint.)

OMONEY DEMANDED IN COMPLAINT: 8 :
not cite jurisdictional statutes unless diversity.)

 

  
    

  

 

 

 

 
 

 

 

 

 

 

 
 
 

     
 

 

 
  
    
 

  

 

   

 

  
  
    

 

 

 

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE TRE INFORMATION REQUESTED BELOW.

State eapportionment o 110 rete - s 01710 Fair Labor Standards
Antitrust 120 Marine fo RURK tae Motions to Act
‘430 Banks and Banking ~~ {01 130 Miller Act (315 Airplane Product Oo 370 Other | Frau Vacate Sentence | 720 Labor/Mgmt.
0450 Commerce/ICC 140 Negotiable instrument Liability 1371 Truth in Lending Habeas Cérpus Relations
Rates/etc. 1 150 Recovery of 3320 Assault, Libet& | 380 Other Personal {oO 530 General © 730 Labor/Memt.
1460 Deportation Overpayment & Slander , Property Damage {() 535 Death Penalty Reporting &
0470 Racketeer Influenced Enforcement of , 0330 Liebe [1385 Property Damage |Q 540 Mandamus/ Disclosure Act
: : : 74 i
Orgenioetns (151 Menor Act. Baa wane oduct eae ay Civ Righs 1790 Otter Pate ret
(1480 Consumer Credit 0 152 Recovery of Defaulted Liabili y roa (422 Appeal 28 USC |F1555 Prison Condition Litigation
0490 Cable/Sat FV . Student Loan (Excl. C1350 Motor Vehicle 138 0791 Enpl. Ret, Inc.
O1810 Selective Service Veterans) [355 Motor Vehicte (0423 Withdrawal 28 BE 4 Se :
850 Securities/Commodities/ 153 Recovery of - Product Liability ke - USC 157 Agriculture p BF
Exchange Overpayment of (9360 Other Persona! G Other Food & 0 820 Copyrights
0 875 Customer Challenge 12 Veteran’s Benefits . Injury 0441 Voting Drug 830 Patent
USC 3410 11 160 Stockholders’ Suits (3362 Personal Injury. 01 442 Employment 13625 Drug Related o 840 . Trademark SERRE
390 Other Statutory Actions {0 190 Other Contract Med Malpractice [0443 Housing/Acco- Seizure of ES OCTALS
0 891 Agricultural Act. (J 195 Contract Product 21365 Personal Injury- mmodations Property 2] USC io 861 HIA (308m
(3892 Economic Stabilization Liability Product Liability 10444 Welfare 881
Act 1 196 pranchise. amrerun 1368 Asbestos Personal {1445 American with {0 630 Liquor Laws
(1 893 Environmental Matters PROPER Injury Product Disabilities - 0 640 RR, & Truck
0894 Energy Allocation Act }(2210 Land Condemnation i Employment [1650 Airline Regs (9 864 SSID Title XVI
895 Freedom of Info. Act [1220 Forectosure a American with {01660 Occupational 865 RSI (405(g
2 900 Appeal of fe eae 230 Rent Lease & Ejectment {2 462 Natiaizaton Disabilities - 1600 Safety Health oe ne a
, nation ler Equa ‘orts to Lan : er r ‘axes ainti
Access to Justice (1245 Tort Product Liability [0463 HabeasCorpus- I 449 Other Civil or Defendant)
1.950 Constitutionality of | {0290 All Other Real Property Alien Detainee _ Rights 871 IRS-Third Party 26
State Statutes 0 465 Runes Tenigration USC 7609
FOR OFFICE USEONLY: — Case Number: :

 

Cv-71

(05/08)

CIVIL COVE:

R SHEET

Page | of 2
Case 2:11-cv-03290-DMG-RZ Document1 Filed 04/18/11 Page 58 o0f58 Page ID #:61

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VITI(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo 0 Yes
If yes, list case number(s):

 

' VII(b). RELATED CASES: Have any cases been Previously fi filed in this court that are related to the present case? MNo 0 Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) A. Arise from the same or closely related transactions, happenings, or events; or
OB. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet. if necessary.)

(a) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
QO __ Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country
California [Delaware

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides.
1 ___Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* ' California County outside of this District; State, if other than California; or Foreign Country

 

Texas, Colorado, Norway, United Kingdom

 

 

 

(c) List the County in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* . ‘ California County outside of this District; State, if other than California; or Foreign Country

 

Texas

 

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land inyglved

  

Date April 18, 2011

 

or other papers as required by law. This form, approved by th the Tadicial ‘Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
US.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
